                   Case: 4:20-cv-00794-JG Doc#: 35-1 Filed'. 04130120 1- of 13. PagelD #'.523


Information Provided for Listing of Inmates at ELK



            Register Number              Name           Court of             Docket Number                                 Offense
                                                       risdiction
                                                      Ju

   90- I 04                     PIERRE               FMN            CR I3.129 DWFTLN                  I 8:286,37   I FRAUD, OTHER
  019-138                       SEARS                FDCD           l9-cR-021 (KBJ)                              OBSCENE MATTR
                                                                                                      I 8 :225 I -2,2260

  649-007                       GREEN                T]DCS          F-2'779-868,C                     DC SEX CARNAL KNOWLEDGE
  873-055                       MCAULEY              FNYW           6: I 1CR06083-002                 2l:846 SEC 841-851 ATTEMPT
02054-127                       NEAL                 FWVS           l: I 8-00 192-001                 2l:841 SCH II NARCOTC,NONFSA
02560-09s                       DAVIS                FMD            TDC-8- I s-CR-033     I   -00 I   COMMUNICATIONS ACT
02868-021                       MORSE                FMIW           l:90-CR-29                        1 8:2 I I 3(D) ROBBRY,ASSLT,BANK


03219-029                       MATHISON             I.'IAN         cR06-4030-001-MwB                 2l:848 CONT CRIMINL ENTERPRS
03365-04 l                      BOONE                FKYW           3:08-CR-l I l-l-CRS               18:286,37 I FRAUD, OTHER
03469-027                       PREVATTE             FINN           HCF'92-42-002                     l8:21IT INTRST COMM ACT VIOL
03 639-088                      BRADY                FWVS           3: I 8-00095                      21:841   &   846 SEC 841-851
03 85 l -029                    ABREGO               FIAN           cR 09-4018-2-MWB                  2l:846 SEC 841-851 ATTEMPT
03977-087                       STRADWCK             FW\TN          5:1 7CR3                          2l:841 & 846 SEC 841-851
05032-03 9                      BERRY                F'MIE          05cR20048-l                       2t.84t & 846 SEC 841-8sl
0s228-043                       MASON                FMSN           3:14CRl I4DPB-FKB-004             2l:846 SEC 841-851 ATTEMPT
05245-087                       BROWN                FWVN           1:05CR96-l                        2l:841 & 846 SEC 841-851
05290-089                       CUNNINGHAM           FwlE           I s-CR-83-l-JPS                   2l:846 SEC 841-851 ATTEMPT
05470- I 04                     LANHAM               FFI-S          l4.I4043.CR.MIDDLEBR              18.,225 I -2,2260 OBSCENE MATTR
0s506-04 I                      GAMMELL              I--MN          0:17-CR-00134-WMW-DT              I 8: 030 FRAUD COMPUTERS
                                                                                                           1


05507-0 I 5                     FITZGERALD           FDE            O8CRI47.LPS                       2l :846 SEC 841-851 ATTEMPT
0s636-087                       LEWIS                FWVN           5:07CR5-01                        21:841   &   846 SEC 841-851
                                SCHLITTENHARDT       F-ND           l:08-CR-069                       21:841 SCH II NONNARC,NONFSA
                                HOSKINS              FINN           2:99 CR I l7-01                   18922(G'; FIREARMS,3 PRI CNV
   123-084                      COURTNEY             FVAW           DVAW2I 5CR0000 I 5-009            I 8:924(C) FIREARMS LAWS
                                HIBBERT              FMOW           4: I 5-CR-00083-DGK(7)            2l:846 SEC 841-851 ATTEMPT
        l   -017                MCCORVEY             FFLN           3:05CRl l0-00lLAC                 I 8 :922(G) FIREARMS,CARR CRIM
                                CICALESE             FW]/N          2:08CR24                          | 8:2251 -2,2260 OBSCENE MATTR
        t-424                   PIRA                 FILN           93 CR 131-2                       I 8:286.371 FRAUD, OTHER
                                WASTI.]N             FIAN           cR03-3068-01 l-MwB                2l:846 SEC 841-851 ATTEMPT
              11                LAI]REL              FFLN           3:06CR460-002,MCR                 2l:846 SEC 841-851 ATTEMPT
   851-041                      FAULKNER             FMN            l4-cR-5(JNE/TNL)                  l8:922(G) FIREARMS,3 PRI CNV
                                CASOLARI             FILS           4:06CR40037-00 l-JPG              I 8:2251 -2,2260 OBSCENE MATTR
                                HILL                 FTNM           3:09-001 56                       OBSCENE MATTER TRANSPORT
                                RANDOLPH             FPAW           CRIMINAL OI-235                   OBSCENE MATTER TRANSPORT
                                WEATHERLY            FIAS           03-243                            2l:846 SEC 841-851 ATTEMPT
                                PzuCE                FINN           2:01 CR 98 JM                     21 841 & 846 SEC 841-85 I
    5l-017                      ZAYALA               FFLN           3:09CR38-003LAC                   21:846 SEC 84i-851 ATTEMPT
              l5                ZIMMERMAN            I.-DE          l3-cR-58-01 GMS                   I 8:225 l -2,2260 OBSCENE MATTR
    l5-017                      BEALL                FFLN           5:t0CRl3-001-RS                   I 8:2251 -2,2260 OBSCENE MATTR
                                SOMERS               FMN            0: 18-CR-00096-DWF( I )           I 8:225 l -2,2260 OBSCENE MATTR
    96-011                      LEIGHTEY             FFLN           3:   l0CR5l-00lLAC                1   8:224 I -2248 SEXUAL ABUSE
                                CREWS                FINN           l:09CR88-001                      21:841 SCH II NARCOTCNONFSA
    7   1   -090                SULLIVAN             FWlW           11-CR-79-BBC-O1                   2l:841 & 846 SEC 841-851
                                DUERSON              FINS           3: I   0CR00004-007               2t:841 & 846 SEC 841-851
              15                MCBRIDE              FDE            r3-cR-l l6-l-GMS                  18',225 1.2,2260 OBSCENE       MATTR
        1   -030                EVANS                I--IAS         4:05-CR-00225                     1   I :225 I -2,2260 OBSCENE MATTR
               9                CHICO                FND            2: l5-CR-28                       BURGLARY
                                WILKERSON            FILS           3:07-CR-30087-001-MJ              2l:841 SCH II NARCOTC,NONFSA
                                POINDEXTER           FVAW           DVAW7t2CR0000l2-001               18:924(C) FIREARMS LAWS
                                MEDLIN               FKYE           6:06-CR- 106-S-DCR-06             2l:841 SCH II NONNARC.NONFSA
08030-090                       MINOR                FWIW           0758 3:13CR00058-001              OBSCENE MATTER TRANSPORT
08077-043                       HUGGINS              FMSS           l:04CR94GURO-005                  2l:846 SEC 841-851 ATTEMPT
08285-068                       JACKSON              FPAW           t8-21"1-01                        2l:841 SCH II NARCOTC,NONFSA
0836 I -068                     GREEN                FPAW           04-233                            2l :841 SCH II NARCOTC,NONFSA
083 99-089                      TUBBS                FWIE           06-cR-r6l                         I 8:286,37 I FRAUD, OTHER
08481-029                       WILSON-BEY           FIAN           cR I 1-2043-2-LRR                 21:846 SEC 841-851 ATTEMPT
08630-025                       BURGARD              F]LS           3:   l0-CR-30085-001-DR           I 8:225 l -2,2260 OBSCENE MATTR
08672-028                       SIMMONS              FINS           3:07CR00024-001                   2l:841 & 846 SEC 841-851
087 I I -088                    OVERSTREET           FWVS           3:08-0022 I                       1 8:225 I -2,2260 OBS CENE MATTR

08893-027                       COCHRAN              FINN           2:06 CR Il4                       21:841   &   846 SEC 841-851
08896-029                       MARCUSSEN            FIAN           cR l4-2037-1-LRR                  2l;841 SCH II NONNARC,NONFSA




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|   08933-o2s                 CLARK              FILS        3:10CR30221-001-GPM           OBSCENE MATTER TRANSPORT
loss:z-ozs                    SMITH              FILS        3: I I -CR-3001 3-DRH- I      18:225 I -2,2260 OBSCENE MATTR
108996-o4o                    WRIGHT             FMIW        l:97-CR-103-03                21:845 SEC 841-851 ATTEMPT
losqqs-ozz                    THOMPKINS          FOHS        3;17CR183(3)                  2l:846 SEC 841-851 ATTEMPT
I   osz+ r -oo:               HODNETT            FALS        0s-00275-00 I                 | 8:225 -2,2260 OBSCENE MATTR
                                                                                                 1

    09348-025                 BARBEE             FILS        3: I   l-CR-301 87-001-DR     2l:841 SCH II NARCOTC,NONFSA
    09387-025                 SIMS               FILS        3:ll-CR-30219-001-DR          I 8:225 l -2,2260 OBSCENE MATTR
    09392-041                 BELL               FND         3:    l3-CR-79-01             2l:841 & 846 SEC 841-851
    0943't-028                HENRY              FINS        2:09CR00025-001               l8:922(G) FIREARMS,3 PRI CNV
    09482-089                 HAYES              FwIE        08-cR-134                     I 8:2 I I 3(D) ROBBRY,ASSLT,BANK
    09504-02 I                DENSMORE           FMD         RDB: l-11-CR-00583            l8:21l3 ROBBERY BANK
    0965   l-087              BEESON             FW\AI       2:l4CF-5-2                    2l:843 USE FICT,REV,SUSP NBR
    09672-027                 HATCH              FINN        3:08-CR-00044(01)RM           I 8:225 | -2,2260 OBSCENE MATTR
loszss-oes                    LINDER             FPAW        I 9-CR-00053                  I 8: I 344 BANK FRAUD
losroo-ozs                    BALDW]N            FILS        3:    l2CR30l72-001-GPM       I 8:225 -2,2260 OB SCENE MATTR
                                                                                                 1

lossor -oze                   BOGUS              FINS        I : l0CR001 94-00 I           18:225 -2,2260 OBSCENE MATTR
                                                                                                 1

Iossor -o:;                   HALL               FKYW        l: I 2-CR-26-R                I 8:224 r -2248 SEXUAL ABUSE
l   oss r l-osz               GARRETT            FW\TN       1:l4CR48 & l:l4CR57           I 8: 922(G) FIREARMS,CARR CRIM
loqsze-oao                    COLEMAN            FMIW        l:13-CR-179                   21:841 & 846 SEC 841-851
lostoo-oos                    NU\IEZ-RODRIGUEZ   FRQ         94-176-t (HL)                 18:2119 ROBBERY OF AUTO
losqz:-or l                   HOIIGH             FKYW        3:06-CR-39-JBC- I               18:225 l -2,2260 OBSCENE MATTR
Ioqqqo-o+o                    COLEMAN            FFLM        6:l l-CR-247-ORL-28KR         2l:846 SEC 841-851 ATTEMPT
I   rools-ozq                 RAGER              FIAN        cR 07-101 l-1-LRR              I 8.225 I -2,2260 OB SCENE MATTR
I   roosr-osz                 SHEPPARD           FW\D{       l:15CRl                       2l:841 SCH II NONNARC,NONFSA
Ir      ooss-ozs              WEATHERSPOON       FINS       2: I I CR00009-007             2l:846 SEC 841-851 ATTEMPT
I roz:o-ozs                   KELLEMS            FILS        1   3CR40033-003              2l:846 SEC 841-851 ATTEMPT
I rozo:-o+o                   BARNES             FMIW       l:00:CR:217-02                  18286,37 | FRAUD, OTHER
  r ozsr-ozs                  DAVIS              FINS       2: l2CR000l0-001                I 8:225 l -2,2260 OBSCENE MATTR
I
I   r0329-os9                 WALLETTE           trND       4:09-CR-060                     I 8:224 l -2248 SEXUAL ABUSE
Iro+qr-oro                    WALKERIV           FVAW       DVAW2I 9CR000002-001            I I :922(G) FI REARMS        CRIM
                                                                                                                   "CARR
Ir      osos-ooz              WINKELMAN          FPAM       4:CR-01-304-08                  I 8:924(C) FIREARMS LAWS
Irosro-oze                    DESILVA            FILC       4:95CR40014-003                 18:1344 BANK FRAUD
Irosrs-o:z                    HARRIS             FINN       3:09-CR-00112(01)RM             | 8:225 I -2,2260 OBSCENE MATTR
I   roszs-or +                LLINDY             FWAW       2:14CR00059RSL-001             2l:846 SEC 841-851 ATTEMPT
    I   0730-033              PORTER             FKYW       3:08CR-44-H                     l8:922(G) FIREARMS,3 PRI CNV
    I   0755-089              MAGEE              FWIE        l0-cR-190                     OBSCENE MATTER TRANSPORT
    l l 037-028               KRACK              FINS       3:12CR00032-001                 I 8:225 l -2,2260 OBSCENE MATTR
    I I 049-028               wILLIAMS           FINS       3: I 3CR00029-00 I              I 8:225 I -2,2260 OBSCENE MATTR
    I 1070-090                TJADER             FwIW       0758 3:17CR00100-001            I I :225 -2,2260 OBS CENE MATTR
                                                                                                 1

    l l 093-025              JACO                FILS        14cR40030-00t                 1 8:225 l -2,2260 OBSCENE MATTR
    I l I 52-090             HENKEL              FWIW       0758 3:18CR0009-001            1 8:225 l -2,2260 OBSCENE MATTR

    I I ls4-030              MORGAN              FIAS       3 :09-CR-00006-004            2l:841 & 846 SEC 841-851
    I r 163-028              BEARD               FINS       l: l2CR002 l2-00 I             l8:922(G) FIREARMS,3 PRI CNV
    I l 1 83-036             SALLEY              FME        l:07-CR-18-JAW-001             I 8: 922(G) FIREARMS.CARR CRIM
    I 1 338-090              SAUER               FwIW       0758 3: I 8CR00067-001        LARCENY/THEFT VS TRANS
    I I 340-028              COOMER              FINS       4:    l3CR000l7-001            I 8:924(C) FIREARMS LAWS
    I   I34l-055             NEWKIRK             FNYW       l:14CR00031-001               21:841 SCH I NARCOTIC,NONFSA
    I r 346-025              CARSON              FILS       4: l4-CR-40083-SMY-7          2l:846 SEC 841-851 ATTEMPT
    I 1 3s0-028              MARSHALL            FINS       l:13CR00153-001                I 8:225 l -2.2260 OBSCENE MATTR
    11387-031                WINSTON             FKS        2:06CR20005-001-JWL            I 8:922(G) FIREARMS,CARR CRIM
    I I 397-032              UNDERWOOD           FKYE       5:06-CR- 165-l-JBC             I 8:225 l -2,2260 OBSCENE MATTR
    I 1435-033               CURRY               FKYW       l:09CR-26-2-R                 2l:841 & 846 SEC 841-8sl
    1   1452-070             SE\.MOUR            FRI        l:17CR00089-01JJM             I 8:225 t -2,2260 OBSCENE MATTR
    I I 5 t4-070             WOODHEAD            FRI        l: 17CR00068-01-WES           18225 | -2,2260 OBSCENE MATTR
I 1 543-084                  BEAR                FVAW       DVAW2O5CR000029-00r           l8:924(C) FIREARMS LAWS
11602-028                    THOMAS              FINS       3: I 3CR00034-00 I            18:225 l -2,2260 OBSCENE MATTR
I       l6l6-029             BURKE               FIAN       cR I l-1004-l-LRR             1 8:225 | -2,2260 OBSCENE MATTR

I 16r6-084                   JARVIS              FVAW       DVAWl06CR0000l9-001           2l:846 SEC 841-851 ATTEMPT
l]-724-078                   JEFFERSON           FLAW       l: l6-CR-00124-3              2l:846 SEC 841-851 ATTEMPT
| 1'.772-059                 ROSEN               FND        3:   l2-CR-80-02              21:846 SEC 841-851 ATTEMPT
11809-017                    SCOTT               FFLN       4:03CR37-01                   2t:841 & 846 SEC 84 l -85 I
I I 882-040                  BUCHANAN            FMIW       l:17:CR:198-01                I 8:225 I -2,2260 OBSCENE MATTR
t2002-081                    BURKHART            FVAW       DVAW5 I 7CR00000 I -00 I      2l :846 SEC 841-851 ATTEMPT
12122-087                    NEWCOMB             FW\TN      3:17CR3l                      | 8:2251 -2,2260 OBSCENE MATTR
12222-007                    TINSLEY             FDCS       2007 cFl 029182               DC HOMICIDE MURDER
12225-089                    FORD                FW]E       I 3-CR-62-5-JPS               2l :841 SCH I NARCOTIC,NONFSA
I 2288-087                   BANKS               FW\    {   5: I   7CR40                  I 8:924(C) FIREARMS LAWS




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12314-027                   PATLAN         FINN     3: I 2CR9 1-00       1               2l:846 SEC 841-851 ATTEMPT
I233l-087                   KRIEGER        FWVN     3: I 7CR97-0.1                       18,-286,37 1 FRAUD, OTHER
1   2395-040                SCOTT          FMIW     l;05CRl8l                            OBSCENE MATTER TRANSPORT
12444-059                   ENNO           FND      4:13-CR-146                          I 8.,224 1.2248 SEXUAL ABUSE
12469-028                   HEINS          FINS     1:14CR00206-001                      1 8:225 l -2,2260 OBSCENE MATTR

12502-089                   CASE           FwIE     I 3-CR- 120                          I 8:2251 -2,226O OBSCENE MATTR
1253 1-087                  SPROWL         FW\AI    5rl8CRl5                             I 8:225 l -2,2260 OBSCENE MATTR
t2561-087                   KING           FW\TN    5: I   8CR24-02                      2l:846 SEC 841-851 ATTEMPT
I2565-087                   PHILLIPS       FWVS     2 l8CR00l07-001                      t 8:922(G) FIREARMS,CARR CRIM
12581-087                   ROGERS         FW]rN    5 l8CR20                             2l:841 & 846 SEC 841-851
1261'.7-087                 SIMMONS        FW\TN    I : I 8CR52                          21:841 SCH II NONNARC,NONFSA
I   263 8-087               PACK           FW\,N    l:l8CR46-18                          I 8:922(G) FIREARMS,CARR CRIM
12668-046                   WENCEwICZ      FMT      CR 13-30-M-DWM-01;                   I 8:225 -2,2260 OBSCENE MATTR
                                                                                                    1

126"13-08'.1                HAGAN          FW\TN       8CR57-9
                                                    3: I                                 21:841 SCH II NONNARC,NONFSA
12147-028                   CHASZAR        FINS     l:15CR00121-001                      2l:841 SCH I NARCOTIC,NONFSA
12'757-04t                  WILLIAMS       FMN      CR 06-I43 RHK                        2l:846 SEC 841-851 ATTEMPT
I   28 I 7-084              GRAY           FKYE     6:09-CR-61 -GITVT-03                 2l:846 SEC 841-851 ATTEMPT
I   28 I 9-087              MISKE          FW\,N    1r19CRl8                             t 8: 922(G) FIREARMS,CARR CRIM
12826-003                   BARLOW         FALS     l:12-CR-00268-001                    | 8:225 I -2,2260 OBSCENE MATTR
l 2850-032                  HELTON         FKYE     5:08-CR- 173-01-KKC                  I 8:225 I -2,2260 OBSCENE MATTR
1286't-087                  ERWIN          FW\TN    3:l9CR2l-3                           2t:841 & 846 SEC 841-851
12882-08'1                  BEAVER         FW\,}J   5:l9CRl5                             21:841 SCH II NONNARC,NONFSA
12947-087                   SULLIVAN       FW\TN    5: I 9CR33-0 I                       21:841         &   846 SEC 841-851
12985-040                   RODRIGUEZ      FTXS     5:17CR00938-00           I           8: I 327       ALIEN SMUGGLEIIMPORT
12989-104                   PICUR          FFLS     I   6-60048-CR-DIMITROtI             I 8 :225 | -2,2260 OBSCENE MATTR
l 3006-026                  GRIFFITH       FILC     02- I 0089-00l                       OBSCENE MATTER TRANSPORT
I   3058-074                MIDDLEBROOK    FTNE     I    r94-CR-00002-TRM-CH             l8:922(G) FIREARMS,3 PRI CNV
r3218-104                   WEATHERMAN     FILS     I   6-CR-40022-JPG-          I       | 8 :225 l -2,2260 OBS CENE MATTR
132'74-025                  BLAIR          FILS     16-CR-30030-MJR                      I 8:225 t -2,2260 OBSCENE MATTR
l 3 3 35-056                BULLOCK        FNCM     l:19-CR-00207-l                      l8:21l3 ROBBERY BANK
13614-027                   COUNCIL        FINN     l:l4CRl4-005                         2l:846 SEC 841-851 ATTEMPT
13731-027                   TRESSLER       FINN     I : I 4CR25                           I 8:2251 -2,2260 OBSCENE MATTR
l 3788-03 9                 RISNER         FKYE             l3-KKC
                                                    7: lS-CR-                            2l:841 SCH II NONNARC,NONFSA
13796-029                   PLEDGE         FIAN     cR l4-132-1-LRR                       | 8:922(G) FIREARMS,CARR CRIM
13813-067                   JOHNSON        FPAM     3:CR- i4- 134                        21:846 SEC 841-851 ATTEMPT
l 3 828-032                 GILLIAM        FKYE     0.10-cR-9-DLB-1                       18.,225 1.2,2260 OBSCENE MATTR
t4067-027                   OLSON          FINN     2: I 5CR26-00 I                      1 8:225 I -2,2260 OBSCENE MATTR

1 4085-04 I                 LEMON          FMN      08-246(DSD/SRN)                      I 8:225 | -2,2260 OB SCENE MATTR
14 1 07-030                 SPAH           FIAS     4:13-CR-00071-001                    I 8:225 -2,2260 OBS CENE MATTR
                                                                                                    1

I 4 I 69-088                ARNOLD         FGAM     l:16-CR-00005-016                    2l:841 SCH II NONNARC,NONFSA
14257 -040                  CRUMP          FMIW     1:09:CR:73-01                        1 8 :922(G) FIREARMS,CARR    CRIM
l 4304-085                  FERGUSON       FWAE     2:12CR00046-001                      18:225 | -2,2260 OBSCENE MATTR
t4327-030                   HENDERSON      FIAS     3 14-CR-00003-001                &   OBSCENE MATTER TRANSPORT
I   43 95-055               GLOVER         FNYW     l:06CR00159-00l                      I 8:225 I -2,2260 OBSCENE MATTR
14455-041                   BANKS          FMN      0:   l7-CR-00324-DSD-KM              I 8:286,37 I FRAUD. OTHER
I 4573-088                  STIER          FWVS     2: I 7-CR-00054                      OBSCENE MATTER TRANSPORT
14597-032                   GALYEN         FCAS     I   0cR504 I -H                      I 8:225 -2,2260 OBSCENE MATTR
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l 4658-033                  BURNHAM        FKYW     I:I   3-CR-21-R                      OBSCENE MATTER TRANSPORT
14665-026                   BROOKS         FILC     01-20047-01                          2l:841 & 846 SEC 841-851
I4670-088                   HILL           FWVS     s  18CR00046-001                     2l:841 & 846 SEC 841-851
14676-088                   LARKIN         FWVS     5: I 8CR00027-00 I                   2l:846 SEC 841-851 ATTEMPT
| 468 I -040                PRYSOCK        FMIW     I:I0-CR-l4-0l                        I 8'.225 1.2,2260 OBSCENE MATTR
r4707-088                   HAYNES         FSC      2: I 7-CR-00655-DCN- I               18225 I -2,2260 OBSCENE MATTR
14708-030                   SYKES          FIAS     3;13-CR-00068-001                    2l:841 & 846 SEC 841-851
14752-088                   LOURETT        FWVS     2:17-00159                           OBSCENE MATTER TRANSPORT
14't56-032                  CANNON         FALS     l l l-cR-00048-001                   OBSCENE MATTER TRANSPORT
t4761-052                   WOODARD        FN\'N    DN\t{5 I 6CR0000 l 2-00 I            t I :922(G) FIREARMS,CARR CRIM
t4'76',7-026                WTNSLOW        FAK      3   :08-CR-000   I   4-TMB           OBSCENE MATTER TRANSPORT
14787-041                   WILSON-ALLEN   FMN      16-143(DSD/FLN)                      I 8.,225 -2,2260 OBSCENE MATTR
                                                                                                    1

I 4795-088                  WHITE          FWVS     2:17-CR-00198-4                      21:846 SEC 841-851 ATTEMPT
14871-032                   BRYANT         FKYE     7:1 l-CR-17-SS-ART-01                2l:846 SEC 841-851 ATTEMPT
14871-424                   RILEY          FILN     I 6-CR-00260                         I 8:922(G) FIREARMS,CARR CRIM
14903-028                   KYER           FINS     l:16CR00199-001                      I 8:225 -2,2260 OBSCENE MATTR
                                                                                                    1

14916-030                   CROSS          FIAS     4: l4-CR-00076-001                   I 8:225 -2,2260 OBSCENE MATTR
                                                                                                    1

14950-028                   DONNELLY       FINS     l:16CR00116-001                      1 8:225 l -2,2260 OB SCENE MATTR

14979-088                   WILLIAMS       FWVS     2 l8-CR-00020-01                     I 8..225 1.2,2260 OBSCENE MATTR
1499s-088                   COOK           FWVS     5: l8-CR-001 l6-01                   I 8:924(C) FIREARMS LAWS




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        I   5006-088                WOLFE          FWVS         2 l8-00104                                  I 8:225 I -2,2260       OBSCENE MATTR
        l 50 I 4-026                SMITH          FILC         1   0-200 I 7-00     I                      1   8:225 I -2,2260 OBSCENE MATTR
        1   5077-088                MONTGOMERY     FWVS         3:18-00213-02                              2l:841 SCH I NARCOTIC,NONFSA
        I5  05-028
              1                     RODRIGUEZ      FINS         1:16CR00025-001                            2l:845 SEC 841-851 ATTEMPT
        15108-041                   WERLEIN        FMN          CRl(].59DWF/FLN                            1 8:225    -2,2260 OBSCENE MATTR
                                                                                                                          1

        I 5209-088                  GORDON         FWVS         3 r9-00030-01                              2l:841 SCH I NARCOTIC,NONFSA
        l 5235-030                  VANMETER       FIAS         4: I 5-CR-00024-00 l                       I 8:225 -2,2260 OBSCENE MATTR
                                                                                                                          1

        1 5238-088                  KIBBLE         FWVS         2: I 9CR00077-00 I                         18:2421-29IlS TRN IMRL PRPS
        1 5257-08 8                 GILLENWATER    FWVS         2: l9-CR-0001 I                            2l:841 SCH I NARCOTIC,NONFSA
        t5270-032                   RAMSEUR        FKYE         5:l l-CR-128-KSF-l                         2l:841 & 846 SEC 841-851
        I5 303-088                  BOSTON         FWVS         2:l9-CR-00162                              18:2421-29 YS TRN IMRL PRPS
        1s335-016                   PHILPOT        FMD          RWT-8- 17-CR-001 89-00                     t 8:924(C) FIREARMS LAWS
        15402-040                   PARKER         FMIW         I l0-cR-222-01                             21:846 SEC 841-8sl ATTEMPT
        I 5460-032                  SMITH          FKYE         6:l2-CR-07-GFVT                            I 8:225 -2,2260 OBSCENE MATTR
                                                                                                                          1

        I s487-028                  BENNETT        FINS         1:l6CR0025l-008                            2l:846 SEC 841-851 ATTEMPT
        l   5603-028                CRAWFORD       FINS         l:17CR00215-001                            18:225 l -2.2260 OBSCENE MATTR
        I   5632-084                COOK           FINS         l:l   1CR00008-001                         I 8-.225 I -2,2260 OBSCENE MATTR
        156'.77-033                 WILLIAMS       FKYW         4:14-CR-12-l-JHM                           182421-29I/S TRN IMRL PRPS
        I   569 I -002              WRIGHT         FALM         2:l5CR3 l7-01-WKW                          OBSCENE MATTER TRANSPORT
        l 5758-052                  DERRIGO        FNYN         DNYNs I 0CR000376-00 I                     1 8.225 I -2,2260 OBSCENE MATTR

        15167-028                   JACKSON        FINS         1 r I 7CR00093-003                         1        RACKETEER (RICO)
                                                                                                                8: I 962
        I 5824-04 I                 CHASE          FMN          r l-150 (JR]7JSM)                          I 8:225 l -2    OBSCENE MATTR
                                                                                                                     "2260
        1   s832-089                LY             FWIE         1   6-CR- l 55                             I 8:924(C) FIREARMS LAWS
                                    ROIIX          FILC         09- I 0022-00        1                     OBSCENE MATTER TRANSPORT
                                   w$ffiffi#                    l6-cR-t??                                  bi$Hffimuerryfiffi+rspoht
|       1s868-0 r6                  BARNES         FVAE     4r I 0CR00074-00 I                             21:846 SEC 841-851 ATTEMPT
I       rssas-ozs                   BELL           FINS         l    17CR00162-005                         2l:846 SEC 841-851 ATTEMPT
lsnz-ozs
I
                                    PARRA          FINS     l:17CR00162-003                                2l:846 SEC 841-851 ATTEMPT
I
     s8ee-062
        r                          BAKER           FOKN     4:19-CR-00113-l-GKF                            1 8:225 I -2,2260 OBSCENE MATTR

     5979-040
        I                          VANDERWAL       FMIW         1:ll-CR-183                                OBSCENE MATTER TRANSPORT
    16001-032                      BENGE           FKYE     6 12-CR-59-SS-ART-01                           21:846 SEC 841-851 ATTEMPT
    I       602 l -089             KRAEMER         FwIE     201       7-cR-35-PP                           I 8:225 -2,2260 OBS CENE MATTR
                                                                                                                          1

    1       605 l -032             SINGLETON       FKYE     5: I 3-CR-8-SS-KKC-                  I         21:846 SEC 841-851 ATTEMPT
    16052-030                      HORTON          FIAS         1 I5-CR-0005l-00I                          18:225 -2,2260 OBSCENE MATTR
                                                                                                                          1

    16055-032                      WATKINS         FKYE     5: I   3-CR-02-S-JMH-0 I                       2l:846 SEC 841-851 ATTEMPT
    16124-028                      ALEXANDER       FINS         I    t8CR00003-001                         I 8:92a(C) FIREARMS LAWS
    16232-032                      DELPH           FKYE     6:1,1-CR-39-ART                                l8:2113 ROBBERY BANK
    t6302-028                      LINVILLE        FINS     .1: I   8CR00005-00              I             COMMI.JNICATIONS ACT
    16327-040                      LOCKE           FMIW         1:i 1-CR-339-01                            OBSCENE MATTER TRANSPORT
    16364-040                      PRUITT          FMIW         l: I 2-CR-45-0           I                 I 8:225 I -2,2260 OBS CENE MATTR
    16399-027                      WOODS           FNCW     DNCWi 15CR00021 3-009                          I 8: I 956         RACKETEERING
    16399-089                      GERRY           Fw]E     201 8-CR-3-PP                                  18,225 1.2,2260 OBSCENE              MATTR
    l 6554-0 I 3                   GUTIERREZ       FMIW         l:15-CR-156                                l8:21l3 ROBBERY BANK
    16571-t7l                      MCCOY           FSC      3:08-40,1(001 JFA)                             l8:922(G) FIREARMS,3 PRI CNV
    16669-028                      SMITH           FINS     l: I 8CR00367-002                              2l :846 SEC 841-851 ATTEMPT
    16683-032                      TAYLOR          FKYE     6:       l3-CR-20-S-GtVT-26                    2l:846 SEC 841-851 ATTEMPT
    167 t7-027                     CALDWELL        FINN     I        r6CR73-001                            I 8:2 I I 3(D) ROBBRY,ASSLT,BANK
    1 6733-046                     RIJTLEY         FWIE     20 I 7-CR-56-PP                                I 8:225 I -2,2260 OBSCENE MATTR
    16747-089                      PUGH            FWIE     I       8-CR- I 86-PP                          I 8:922(G) FIREARMS"CARR CRIM
    16783-040                      MENDEZ          FMIW     l:12-CR-297-01                                 21.841 & 846 SEC 841-851
    I       6869-0s9               MANNY           FND      I t7-CR-274                                    2l:846 SEC 841-851 ATTEMPT
    I 6870-040                     DELAROSA        FMIW     | : I 3-CR-26-03                               2l:846 SEC 841-851 ATTEMPT
    I 6900-052                     BASS           FN\'N     DNYNI 10CR000166-001                           FRAUD POSTAL
    1 693 1 -009                   MARTIN         FOHN      5:lz1CR301-13                                  21:841     &       846 SEC 841-851
    16991-027                      WILSON         FINN      2: l7CR55-001                                  21:841     &       846 SEC 841-851
17063-028                          HOWERTON       FINS      1:19CR00248-001                                18.225 1 -2,2260 OBSCENE MATTR
17089-040                          MABEE          FMIW      l.13-CR-99                                     OBSCENE MATTER TRANSPORT
17092-040                          GREEN          FMIW      l: I 3-CR- 109                                 2l:846 SEC 841-851 ATTEMPT
1710'7-027                         MOIT           FINN     2: 1 7CR83-00 I                                 I 8 :225 | -2,2260 OBSCENE MATTR
r71 l8-039                         MIRANDA        FMIE     0645 2: I 9CR20240(1 )                          21:846 SEC 841-851 ATTEMPT
17127-057                          HANBERRY       FNCM     I :94CRl 85- I                                  21:841 & 846 SEC 841-8sl
t7 t6t-046                         PAULSON        FMT      CR I8-35-BLG-DLC-I                              2l:846 SEC 841-851 ATTEMPT
17327-018                          NIEVES         FNYS     7: I 6-CR-0050,1-CS-00                    1     1 8,, 499 /7 02 IMPERS ONATION

17352-424                          POWELL         FILN     04        cR 885-l                              18:225 -2,2260 OBSCENE MATTR
                                                                                                                      1

17362-027                          ADAMS          FINN     2: I 8CR27-00 I                                 18:225 I -2,2260 OBSCENE MATTR
17408-030                          CHAMBERS       FIAS     4: l6-CR-00020-001                              1 8"225 1.2,2260 OBSCENE MATTR

17432-026                          RUPERT         FILC      I   0-.10009-00      I                         2l:841 & 846 SEC 841-851




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Irz+or-osr                              DAVIS          FWY          19-CR-64-lF                     I 8:225 -2,2260 OBS CENE MATTR
                                                                                                                   1

lnqss-otz                               SMITHA         FKYE         5:13-CR-109-KKC-1               2l:846 SEC 841-851 ATTEMPT
lnszt-otq                               NICHOLS        FTNM         3:00-00095-0 I                  I 8:2 I I 3(D) ROBBRY,ASSLT,BANK
lnsz.e-ozs                              JACKSON        FIAN         0862 5: I 8CR04038-002          2l :841 SCH I NARCOTIC,NONFSA
lnszt-otz                               BARKER         FKYE         5:14-CR-32-DCR-l                2l :841 SCH II NONNARC,NONFSA
lnstz-ozt                               CATES          FINN         3:1 8CR72-00 I                  I 8:922(G) FIREARMS,CARR CRIM
lfisse-ozt                              JACKSON        FINN         2: I 8CR86-00 I                 l8:924(C) FIREARMS LAWS
Ir          zor+-o:o                    GROSS          FIAS         l:16-CR-00029-001               18225 -2,2260 OBSCENE MATTR
                                                                                                                   1

I       r   zzos-o+      r              HAMLIN         FMN          CR 13.279 DWF/JSM               18:2251 -2,2260 OBSCENE MATTR
l'ztqt-ozt                              JONES          FINN         2:   l8CRl37-001                I I :225 t -2,2260 OBSCENE MATTR
lnsqz-02.t                              TRISCHLER      FINN         l: I 9CR27-00 I                 OBSCENE MATTER TRANSPORT
I       r   zsso-ozc                    STOT]T         FILC     l 2-30005-00 I                      1 8:225 l -2,2260 OBSCENE MATTR

Ir  zsa:-o+r                            BRANTON        FLAW     3:14CR00050-001                     SEX OFFENSES
I r zs:+-o+o                            LOVE           FMIW     l: l4-CR-04-01                      I 8:924(C) FIREARMS LAWS
Ir          zq:e-o:z                    JONES          FKYE     I 5-CR-6-DLB.CJS- I                 2l:846 SEC 841-851 ATTEMPT
lnsqt-qzq                               HART           FILN     16 CR 199-2                         2l:846 SEC 841-851 ATTEMPT
lngn-on                                 MASON          FKYE     6: l5-CR-l 5-SS-ART-04              2l:846 SEC 841-851 ATTEMPT
Irsrso-o+o                              SEGAR          FMIW         1:14-CR-    l2l   -01            I 8..225 I -2,2260 OBSCENE MATTR
Irsrzs-oqo                              CAIN           FMIW     2: l4-CR-3       1                   18:2241 -2248 SEXUAL ABUSE
I       r   szoa-o+o                    STEVENSON      FMIW         l :14-CR- 1 67                   18:225 I -2,2260 OBSCENE MATTR
Ir          szz:-orz                    SMITH          FKYE     6: l5-CR-26-S-GFVT-2                2l:846 SEC 841-851 ATTEMPT
Ir          sz-r   r-o.lz               JOHNSON        FKYE     6:     l5-CR-20-GFVT-04             2l:846 SEC 841-851 ATTEMPT
I
        r   szoo-osz                    WEISS          FNCM         l:12CR249-l                     COMMTINICATIONS ACT
II          828 l-030                   BROWNING       FIAS     3: l7-CR-00097-001                  21 :846 SEC 841-851 ATTEMPT
Ir          azqs-o:z                    WEST           FKYE     5:15-CR-7O-DCR-2                     I 8: 922(G) FIREARMS,CARR CRIM
Irrlrz-orz                              HALE           FKYE     0:       l5-CR-18-DLB-l             2l:846 SEC 841-851 ATTEMPT
Ir          r:r-l-ozs                   DOGGETT        FILC         t2-200'78-001                   2l:846 SEC 841-851 ATTEMPT
Ir          sr re-ora                   DONITHAN       FVAW     DVAW7l4CR000027-010                 2l:846 SEC 841-851 ATTEMPT
I

    83e0-040
        r                               PETERSON       FMIW         I:l4-CR-l53                     18:2421-29IlS TRN IMRL PRPS
I

I
  l 8482-04 I                           NOVAK          FMN          I5CR93 ADM                      I 8:225 -2,2260 OBS CENE MATTR
                                                                                                               1

  18495-026                             BROWN          FILC         I 3-20023-00 I                  21:841 SCH I NARCOTIC,NONFSA
  I 8522-040                            VEREEKE        FMIW         l:14-CR-232-02                  2l:846 SEC 841-851 ATTEMPT
    I 8560-040                          MOSLEY         FMIW     l:15:CR:50-01                       2l:846 SEC 841-851 ATTEMPT
    1 8601-026                          WALTERS II]    FILC     l2-30034-001                        1 8 :225 l -2,2260 OBSCENE MATTR

    18623-O4o                           HAYES          FMIW     I : l5-CR- 102                      1 8:225 l -2.2260 OB SCENE MATTR

    I 8643-084                          WEBB           FVAW     DVAWT 14CR000023-002                COMMUNICATIONS ACT
    18786-424                           WILLIAMS       FILN     06cR45l-10                          2l:846 SEC 841-851 ATTEMPT
    I 8837-0s2                          DOLSON         FNYN     DNYN5 I 2CR000007-00 I              I 8 :225 -2,2260 OBSCENE MATTR
                                                                                                               1

    1 8846,04 I                         KOPECKY        FND      2: l5-CR-75                         2l:846 SEC 841-851 ATTEMPT
    I 8897-040                          RABIDEAU       FMIW     I    :   l5:CR: 189-01              I I :22 5 | -2,2260 OBS CENE MATTR
    I 8935-083                          GRAVES         FDCD     cR 95-046-l                         I 8: 962 RACKETEER (RICO)
                                                                                                           1

    I 8960-026                          BRANDON        FILC     l3-cR-40050-001                     2l:846 SEC 841-851 ATTEMPT
    I 905 1 -032                        FIELDS         FKYE     7:15-CR-l l-DCR-S                   2l:846 SEC 841-851 ATTEMPT
    19152-033                           BEAUCHAMP      FKYW     3: l7-CR-172-l-DJH                  I 8:225 l -2,2260 OBSCENE MATTR
    1   96-084
            9 l                         BRIGHT         FVAW     DVAW2l5CR000015-005                 2l:846 SEC 841-851 ATTEMPT
    I 9200-040                          MIKLUSICAK     FMIW     I : 15-CR-201                       18:225 l -2,2260 OBSCENE MATTR
    r 9208-084                         RICHARDS        FVAW     DVAW2          t 5CR0000 I 5-02 I   2l:846 SEC 841-851 ATTEMPT
    r 9251-040                         MCPETERS        FMIW     l: l5-CR-l       93                 | 8:286,37         I FRAUD, OTHER
    t9252-032                          WELCH           FKYE     5:15CR00102-JMH-2                   2l:846 SEC 841-851 ATTEMPT
    t9263-021                          SELLEY          FGAS     2:       l5CR0000l-l                | 8 :225 -2,2260 OBS CENE MATTR
                                                                                                               1

    1931 t-026                         FERGUSON        FILC     I3-2006 I -00 I                     t 8:225 l -2,2260 OBSCENE MATTR
    I 9364-039                         KENT            FMIE     0645 5: I 3CR20348(2)               FRAUD POSTAL
    19570-052                          WHITE           FNYN     DN\TJ8 I 2CR000092-00          1    21:841     &       846 SEC 841-8sl
    19696-424                          COMBS           FIAS     3:07-CR-00559-00 I                  2l:841 & 846 SEC 841-851
    l 9867-038                         WATSON          FMA      l: l0 CR 10133 - 001                I 8:   l5 l2 OBSTRUCT JUSTICE
    19904-026                          JOHNSON         FILC     4: l5-CR-40032-001                  2l:841 SCH I NARCOTIC,NONFSA
    19904-040                          PLOWE           FMIW     2: l5-CR-29                         1 8:225 t -2,2260 OBSCENE MATTR

2007 5-052                             HOBSON          FNYN     DNYN5 I 3CR000 145-00 I             | 8:225 l -2,2260 OBSCENE MATTR
2030 I -055                            LASNICK         FNYW     6: I l-CR-06050-001                 18:225 I -2,2260 OBSCENE MATTR
20500-032                              TAYLOR          FKYE     5:15-CR-l l2-JMH                    1 8:924(C) FIREARMS LAWS

20796-041                              CLAUSEN         FMN      l6-cR-256         (l) (MJD/L        l8: I I I ASSLT/RESIST FED OFFR
20895-04 I                             EISENACH        FMN      0: l6-CR-00267-DSD-LI               I 8.225 t -2,2260 0BS CENE MATTR
20896-032                              PERKINS         FKYE     6:16-CR-15-ART-l                    2l:841 SCH I NARCOTIC,NONFSA
20922-041                              HELKER          FMN      l7-cR-0023 (PJS)                    I 8:225 1 -2,2260 OBS CENE MATTR
20952-0'78                             GALVAN          FTXE     4:13CR00029-003                     21:846 SEC 841-851 ATTEMPT
21169-032                              EPPERSON        FKYE     6:16-CR-21-S-KKC-5                  2l:846 SEC 841-851 ATTEMPT
2           I 1 97-055                 MONTANEZ        FNYW     l   :1   5CR001 22-003              2l:846 SEC 841-8sl ATTEMPT




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    21215-032                     MILLER            FKYE   2:16-CR-47-SS-DLB- l           18225 | -2,2260 OBSCENE MATTR
    21271-041                     ANDERSON          FMN    0:1 7-CR-00254-JNE-LI          18:225 l -2,2260 OBSCENE           MATTR
    21340-074                     GIBSON            FTNE   2:09-CR-42-001                OBSCENE MATTER TRANSPORT
    21349-041                     SORGENFREI        FMN    0: l7-CR-00274-JRT(l )        I 8:225 1 -2,2260 OBS CENE MATTR
    21354-032                     GRAY              FKYE   6:17-CR-01-GFVT               I 8:225 1 -2,2260 OBS CENE MATTR
    21354-040                     WANDAHSEGA        FMIW   2: l6-CR-20-01                I 8:224 I -2248 SEXUAL ABUSE
    21425-014                     JONES             FCT    3:13CR2 (MPS)                 2l:841 & 846 SEC 841-851
    21440-032                     JACKSON           FKYE   6:17-CR-14-SS-GFVT-2          21:846 SEC 841-851 ATTEMPT
    21470-084                     RHODES            FVAW   DVAW716CR000039-001           I 8:2251 -2,2260 OBSCENE MATTR
    215t6-424                     NUREK             FILN   04-cR-333-l                   I 8:225 -2,2260 OBSCENE MATTR
                                                                                                       1

    21632-0s8                     CLARK             FNCW   DNCWs06CR000035-014           2l:846 SEC 841-8sl ATTEMPT
    21638-057                     THOMAS            FNCM   l: i9-CR-00434- I             2l:841 & 846 SEC 841-851
         l6'75-040                IDEMA             FMIW    I:I7-CR-106                  OBSCENE MATTER TRANSPORT
          766-026                 SILLS             FILC    l6-cR-10049-001              1 8:225 l -2,2260 OBSCENE MATTR

          771-01 8                STAFFORD          FMIW    l:97-CR-66-01                l8:1201 KIDNAPING
          791-032                 HAVENS            FKYE   2:    l7-CR-36-DLB-l          I 8:225 -2,2260 OBSCENE MATTR
                                                                                                       1

           800-032                HUGHES            FKYE   2: l7-CR-42-S-DLB-03          2l:846 SEC 841-851 ATTEMPT
           826-045                BREWER            MAR    GCMO 12                       MILITARY COURT SEX OFFENSE
           883-084                PERKINS           FNCM   l:17-CR-00158-l               21:841        &   846 SEC 841-851
         l 889-038                HUNT              FMA    l: 12 CR 10227 -003           2l:846 SEC 841-851 ATTEMPT
          952-084                 BAILEY            FVAW   DVAW I 7CR000036-00
                                                                       1             1   2l :846 SEC 841-851 ATTEMPT
          999-026                 IHLENFELD         FILC    I   7-20023-00 I             | 8:225 -2,2260 OBSCENE MATTR
                                                                                                       1

                                  GIST.SUTTON       FMIW    l:17-CR-25 l-02              18.924(C) FTREARMS LAWS
                                  KINDRICK          FMOW   4:09-CR-0033 l-FJG-l          1 8:225 l -2,2260 OBSCENE MATTR

                                  HIGGINS           FNYW   6:13-CR-061 l3-001            1 8:225 | -2,2260 OBSCENE MATTR

          120-424                 GIBSON            FILN   06-cR-70-l                    OTHER,/LTNCLAS SIF]ABLE
          142-026                 MCGILL            FILC   17-CR-40059-001               I 8 :225 I -2,2260 OBSCENE MATTR

    lzzt++-oza                    HUSER             FILC   l7-cR-10038-001               1 8 :225 l -2,2260 OB SCENE MATTR

    122226-040                    KNIGHT            FMIW   l: l8-CR-159                  l8:2250 FAIL REG AS SEX OFFN
    lzzzzo-ozo                    COWELL            FILC   l-t-200s2-oor                 21:841 SCH II NONNARC,NONFSA
    122246-032                    GHENT             FKYE   6:18-CR-48-S-REW-03           2l:841 SCH II NONNARC,NONFSA
    lzzzqs-osa                    SMITH             FVAW   DVAW6I 8CR00002 I -00 I       21:846 SEC 841-851 ATTEMPT
    lzzzsz-oqo                    MCFADDEN          FMIW   l:18-CR-167-22                2l:841 SCH II NARCOTCNONFSA
    22258-055                     QUINONES          FNYW   l:13CR00083-001               2l:846 SEC 841-851 ATTEMPT
    22282-040                     ARMSTRONG         FMIW   I ; I 8-CR-252-04             2l:846 SEC 841-851 ATTEMPT
    22332-045                     SHEETS            FMOW   l0-00171-01-cR-w-DGK           1 8:225 l -2,2260 OBSCENE MATTR

    22383-032                     GABLE             FKYE   3:l9-CR-29-GFVT-l             OBSCENE MATTER TRANSPORT
    22404-040                     HAYES             FMIW   I :1 8-CR-258                  t8:225 -2,2260 OBSCENE MATTR
                                                                                                   1

        5-032                     FARRERA.BROCHEZ   FKYE   5:19-CR-55-DCR                 l8:1028 FRAUD IDENTITY THEFT
            l-032                 LEWIS             FKYE   5: l9-CR-022-DCR-01           1 8:924(C) FIREARMS LAWS

                                  HALL              FILC   I 8-10029-001                 | 8:225 -2,2260 OBSCENE MATTR
                                                                                                   1

                                  CRAIGHEAD         FVAW   DVAW6l9CR000008-001           I 8 :922(G) FIREARMS,CARR CRIM
                                  BASSETT           FNJ    2:11CR447-3                   2l:846 SEC 841-851 ATTEMPT
                  11              SIRMANS           FFLN   3:   l5CRl l-001A4CR          I 8:225 t -2,2260 OBSCENE MATTR
                  14              RHOADES           FCT    3:15-CR-00206-JAM             I I :225 -2,2260 OBS CENE MATTR
                                                                                                   1

lz::or-oso                        NEAL              FOHN   5:15CR00339-007               2l:846 SEC 841-851 ATTEMPT
I


123664-t t t                      GONZALEZ          FCAN   cR-16-00382-014 HSG           I 8:924(C) FIREARMS LAWS
23 887-076                        YOI-ING           FINS   l:10CR00003-017               21:846 SEC 841-851 ATTEMPT
I

 23970-Os7                        LOGAN             FNCW   DNCWI 15CR000027-001          I 8: I 344 BANK FRAUD
    24255-05s                     SASIADEK          FNYW   l:15CR00159-001               I 8 :225 -2,2260 OBSCENE MATTR
                                                                                                   1

    2441 1 -045                   WOLD              FMOW   l2-03070-01-cR-s-Dw           1 8:225 l -2,2260 OBSCENE MATTR

    24535-056                     FOSTER            FNCE   5:08-CR-218-lD                2l:841 & 846 SEC 841-8sl
    24623-045                     CRULL             FMOW   I 2-03080-0 1 -CR-S-DGK       I 8:225 -2,2260 OBSCENE MATTR
                                                                                                   1

    24822-045                     DEMENT            FMOE   4:12CR00423 AGF               2l:846 SEC 841-851 ATTEMPT
    25052-052                     COTTO             FLAE   I 6-36 ',S',                  2l:846 SEC 841-851 ATTEMPT
    25218-076                     REID              FTNW   2: 12CR20029-01-JPM           OBSCENE MATTER TRANSPORT
    25554-07 s                    JOHNSON           FTNM   3: I 8CR00058-001             t8:922(G) FIREARMS.3 Pzu CNV
    2s629-052                     TERRANCE          FN\N   DN\N8 l 9CR000034-001         SEX OFFENSES
    25858-047                     ROBINSON          FMOW   5: l3-06012-01-CR-SJ-         2l :846   SEC 841-8s l ATTEMPT
    26017-0st                     GASKIN            FNM    l:12CR02218-001MCA            2l:841    & 846 SEC 841-851
    26851 -055                    OCASIO            FNYW   6:16CR06047-001               2l:846    SEC 841-851 ATTEMPT
    27000-057                     BINES             FNCM   1:   l0CR234-l                2l:841    & 846 SEC 841-851
    27022-055                     GUERRIERA         FNYW   l:16CR00086-002               | 8:225 -2,2260 OBSCENE MATTR
                                                                                                   1

    2'7184-037                    WHITE             FMD    wDQ-06-057s                   2l :841 SCH I NARCOTIC,NONFSA
    27   t86-t7   I               DIETRICH          FSC    0: l4-244(001 MBS)            I 8:225 l -2,2260 OBSCENE MATTR
    27411-055                     CARYL             FNYW   l:18CR00002-001               I 8..225 I -2,2260 OBSCENE MATTR
    27425-180                     THOMPSON          FTXW   7:04-CR-086-27 DC             2l:846 SEC 841-851 ATTEMPT




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    2'7433-0ss                 SCHULTZ          FNYW    l: l7CR00l 93-00 I              1   8:225 I -2,2260 OBSCENE MATTR
    27446-055                  BEERS            FNYW    6:1 8CR06009-00 I               I 8:225 | -2,2260 OBSCENE
                                                                                                               MATTR
    27493-058                  KRAMER           FNCW    DNCW3l2CR00l7l-001              I 8 :225 I -2,2260     MATTR
                                                                                                          OBSCENE
    275 1 3-00 I               BROSS            FFLS    l:09-20572-CR-SEITZ-            I 8:225 I -2,2260 OBSCENE
                                                                                                               MATTR
    21722-045                  CHAPIN           FMOW    4:15-00146-01-CR-W-R            1 8:225 I -2,2260 OBSCENE
                                                                                                               MATTR
    278 1 3-055                BEATON           FNYW    6:18CR06005-001                 1 8:225 I -2,2260 OBSCENE
                                                                                                               MATTR
    27854-039                  DELGADO          FMIE    t4cR20tt7-26                    2l:846 SEC 841-851 ATTEMPT
    28054-054                  ELGABROWNY       FNYS    ss 93 cR. l8I(MBM)01            NAT'L DEFENSE SEDITION
    28435-0s7                  EPPERSON         FNCM    l:l2CRl57-l                     I 8:225   1 -2,2260 OBSCENE MATTR

    28495-057                  BARRINGTON       FNCM    l:l2CRl97-1                     I 8.   922(G) FIREARMS,CARR CRIM
    28697-0s5                  RENTAS.TORRES    FNYW    6: I 9CR06122-00 I              2l:841 & 846 SEC 841-851
    28698-0 I 6                POOLE            FMD     DKC-8- I 2-CR-00s24-OO          I 8:225 1 -2,2260 OBSCENE MATTR
    2873 5-00 I                GREGG            FALN    cR l0-BE-436-E                  OBSCENE MATTER TRANSPORT
    29040-05't                 GALANIS          FNCM    I   :l3CRl49-1                  I 8:225 t -2,2260 OBSCENE MATTR
    298 1 3-050                RUIZ             FSC     6:1 7CR638- I                COMMI.INICATIONS ACT
    30049-424                  MORRIS           FILN    06 cR 50007                  21:841 SCH I NARCOTIC,NONFSA
    30 l 40-068                PENWELL          FPAW    08-003 87-00 r                I 8:2251 -2,2260 OBSCENE MATTR
    30203-424                  JANSEN           FILN    08 cR 50043-1                COMMUNICATIONS ACT
    30565- l 60                EVANS            FOHN   l:14CR237                     COMMUNICATIONS ACT
    30569-007                  DODSON           FDCS   F3830-99                      DC SEX OFFENSE
    30649-039                  WALTON           FMIE   I 3CR205 l2- I                2l:841 & 846 SEC 84 l -8s I
    30671-t60                  WILSON           FOHN   l:06CR00338-008               2l:846 SEC 841-851 ATTEMPT
    30784-034                  SISTRLINK        FLAE   08-256'.A',                   2l:841 SCH II NONNARC,NONFSA
    308 I 6-057                HIPPS            FNCM    l:15-CR-00118-l              2l:841 & 846 SEC 841-851
    30838- 1 60                MILLER           FOHN    l:06CR364                     1 8:225 I -2,2260 OBSCENE MATTR

    30939-177                  ANTUNES.AGUIRRE FTXI!   3:03-CR-3 5l -P(01)           2l :841 SCH II NONNARC,NONFSA
    31209-160                  CAMPANA         FOHN     l:07CR210-l                  18:225 I -2,2260 OBSCENE MATTR
    31240-OO9                  BUGG            FARE    4:17CR00047-01 BRW            18:2421-29I/S TRN IMRL PRPS
    3   l 654-039              ORTIZ           FMIE    0645 2:16CR20167 (l)          I 8:924(C) FIREARMS LAWS
    1t749-009                  CFIASTAIN       FARE    4: I 8CR00 I 59 JLH           I 8: l95l RACKETEER. VIOLENCE
    11797-t60                  GEISER          FOHN    l:08CR00280-001               I 8:225 l -2,2260 OBSCENE MATTR
    I I 861-037                SMITH           FMD     l:96CR00086-001               I 8: I 925(8) RACKETEERING
    t2064-160                  FOWLER          FOHN    5: l7-CR-00434                | 8:225 I -2,2260 OBSCENE MATTR
32127-t60                     HAMPTON          FOHN    l:09CR145-002                2l:841 SCH II NARCOTC,NONFSA
32278-160                     CHAVEZ           FOHN    4:09CR214-001                OBSCENE MATTER TRANSPORT
32707-160                     HUTCHINSON       FOHN    l: l0CR234-01                 I 8-,225 I -2,2260 OBSCENE MATTR
32'.749-045                   MOFFIS           FMOW    6:17-CR-03130-MDH(l)          I 8 :225 l -2,2260 OBSCENE MATTR
32872-018                     TANZOSH          FFLM    3:09-CR- 195-J-32MCR          1 8:225 l -2,2260 OBSCENE MATTR

32989-068                     BURROWS          FPAW    17-224                        I 8 :922(G) FIREARMS,CARR CRIM
33051-t7l                     HINES            FSC     2:   l7-CR-l 175-DCN   (l)   1 8:225 I -2,2260 OBSCENE MATTR

13060-01 3                    LOVE             FOHN    I : l2CV33 I                 2l:841 SCH I NON-NARC,NONFSA
13060-060                     SHORT            FOHN    l:18-CR-00246-6              2l:843 USE FICT,REV,SUSP NBR
,3266-0s',7                   CLARKE           FNCM    l: l9-CR-001 98-l            I 8: I 028 FRAUD IDENTITY THEFT
13406-068                     BUSH             FPAW      t2-92                      2l:846 SEC 841-851 ATTEMPT
33s42-083                     HOPSON           FVAE    3:04CR00235-00 I             18:924(C) FIREARMS LAWS
33545-068                     WISE             FPAW    cR 12-162-s                  21:846 SEC 841-851 ATTEMPT
33751-057                     FRALEY           FNCM    I : I 7-CR-00053-27          2l:846 SEC 841-851 ATTEMPT
33 82 1 -058                  BATIK            FNCW    DNCW5l7CR000049-001          I 8 :225 l -2,2260 OBSCENE MATTR
33 82s-058                    JOHNSON          FNCW    DNCW3l7CR0002s4-oo1          I 8:2251 -2,2260 OBSCENE MATTR
13915-058                     RODGERS          FNCW    DNCWI l7CR000l3l-001         t8:924(C) FIREARMS LAWS
|4090-068                     KELLY            FLAW    2: I 3CR00083-00 I           SEX OFFENSES
14323-05 8                    SM]TH            FNCW    DNCW3l8CR000t65-001          l8:1028 FRAUD IDENTITY THEFT
\4683-044                     KOHL             FMOE    I :07CR00l77CDP              I 8 :225 l -2,2260 OB SCENE MATTR
i4845-0 I 6                   ALBzuGHT         FDCD    cR l6-136(01)-(RC)           I 8:225 l -2,2260 OBSCENE MATTR
\4927-058                     WRIGHT           FFLM    6:19-CR-134-ORL-408J         21:331NARCOTICS
3s0 I 5-057                   POPE             FNCM    I : I 9-CR-00404-2           1 8:922(G) FIREARMS,CARR CRIM
3   5368-068                  CANOVALI         FPAW    cR l4-210                    I I :225 I -2,2260 OBSCENE MATTR
35376-068                     MAURIZIO         FPAW    cR l4-23J                    OBSCENE MATTER TRANSPORT
3s572-068                     RHODES           FPAW    l 5-023-0 r                  1 8 :225 | -2,2260 OBSCENE MATTR
357 12-086                    JORDAN           FWAW    CRO5-5823RBL                 l8:1201 KIDNAPING
    5756-079                  MARTINEZ-ARIAS   FTXS    2: I 1CR00598-001            2l:841 SCH I NON-NARC,NONFSA
    5775-068                  MICHELI          FPAW    cR NO. l5-001 s7-00r         2l:841 SCH I NARCOTIC.NONFSA
    5897-086                  ANDERSON         FMIW    l:17-CR-206-l;l:17-C         I 8: 17 01 -3.7,8,12. I 3LRCN PST
    590s-068                  TOLAND           FPAW    2: l5-CR-160-l               21 :846 SEC 841-851       ATTEMPT
                              COLLINS          FMOE    4:09CR43lRWS                 t 8 :225    I -2,2260 OBSCENE MATTR
r6750-068                     CHAFFIN          FPAW    l5-256                       2184t & 846 SEC 841-851
r7000-068                     TRISKET          FPAW    I : l5-CR-37                 I 8:225     1   -2,2260 OBSCENE MATTR




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3724s-007                 SCHULTZ        FVAE           I :16-CR-001 72-00 I             2l:846 SEC 841-851 ATTEMPT
374'75-069                DAVILA.REYES   FRQ            3:11-CR-183-001 (JAF             I 8 922(G) FIREARMS,CARR CRIM
                                                                                            :


3789 1 -068               ILICH          FPAW           2:       l6-CR-44-l              I 8:225 | -2,2260 OBS CENE MATTR
3'7969-068                PA\AIE         FPAW           2: l6-CR-158-2                   21:846 SEC 841-851 ATTEMPT
38069-068                 BURTON         FPAW           2:16CR00056                      l8:924(C) FIREARMS LAWS
38300-068                 MAGEE          FPAW           cR NO. l7-00033-001               l8:2113 ROBBERY BANK
383 l7-068                LANDSBACH      FPAW           cR l7-03J                         | 8:225 1 -2,2260 OBS CENE MATTR
38330-479                 CHILDREY       FTXS           5:18CR00293-001                  8: I 327      ALIEN SMUGGLE^MPORT
3 8369-068                KERR           FPAW           I : I 7-CR-00008                  t8.2251 -2,2260 OBSCENE MATTR
38405-068                 CLARK          FPAW           cR r7-103                        2l:841 SCH II NONNARCNONFSA
3 8429-068                SMITH                         t7-123
                                         FPAW                                            2l:841 & 846 SEC 841-851
38539-068                 CHAMBERS       FPAW           1   8-CR-001 86                  l8:1344 BANK FRAUD
38634-068                JOHNSON         FPAW           cRNO. l7-00177-004               2l:846 SEC 841-851 ATTEMPT
38744-068                BOYNTON         FPAW           i: I 7CR00024                    I 8:225 I -2,2260 OB SCENE MATTR
38770-037                FLETCHER        FMD            PJM-05-0179                      21841 & 846 SEC 841-851
38818-068                JOHNSON         FPAW           cR NO. I 8-00062-001             2l:846 SEC 841-851 ATTEMPT
3 89 I 6-068             O'DONNELL       FPAW           I 8-CR-00080                     1 8..225 1.2,2260 OBSCENE MATTR

39 l 45-068              BEIMEL          FPAW           l:18CR00020                      1 8:225 l -2,2260 OBSCENE MATTR

39272-068                WILLIAMS        FPAW           cR 18-00335-001                  21.841 & 846 SEC 841-8sl
393 I 8-068              GRASHA          FPAW           l 8-325-01                       I 8:2251 -2,2260 OBSCENE MATTR
393 30-068               WINTERS         FPAW           I 9-00062-00 I                   2l:846 SEC 841-851 ATTEMPT
10061-424                MCDONALD        FILN           08 cR 122-3                      2l:846 SEC 841-851 ATTEMPT
4009 1-039               VAN             FMIE       06cR20491-l                          21:841 & 846 SEC 841-851
40209-054                WILSON          FPAW       I 5-258                              2l;846 SEC 841-851 ATTEMPT
40485-424                CALLION         FILN       08 cR 549-l                          I 8:286,37 I FRAUD, OTHER
408 l4-06 I              THOMAS          FINN           1:l1CR22-007                     2l:841 SCH II NARCOTC,NONFSA
4089 l -044              NORTHROP        FMOE           l: l3CR00073SNLJ                 2l:841 SCH II NONNARC,NONFSA
40990-424                CASTALDI        FILN       09 cR 59-l                           FRAUD POSTAL
4tzt5-298                GARCIA          FCAS       I4CROO59-DMS                         21:841 SCH II NARCOTC,NONFSA
41247-424                GARTHUS         FILN       09 cR 441-t                          OBSCENE MATTER TRANSPORT
41285-424                MESCHINO        FILN       09 cR 469-t                          OBSCENE MATTER TRANSPORT
41292-424                BYE             FILN       09 cR 490                            1 8:225 l -2,2260 OBSCENE MATTR
41691-044                CAMPBELL        FMOE       4:14CRl l5 RWS                       1 8:225 I -2,2260 OBSCENE MATTR

41741-050                CORBETT         FNJ            I   :1   0.CR-00355(01 )         I 8:225 1 -2,2260 OBSCENE MATTR
41774-039                WHITLEY         FMIE       07cR20559-2                          2l:846 SEC 841-851 ATTEMPT
42057-039                STEFANSKI       FMIE       07cR20512-l                          I 8.225 I -2,2260 OBSCENE MATTR
42315-424                JEWELL          FLAW       5: I l-CR-00146-04                   OBSCENE MATTER TRANSPORT
42687-039                WHITLEY         FMIE       07cR20559-01                         2l:841 SCH II NARCOTIC
                         WALSH           FTNE       I rl0-CR-001                         OBSCENE MATTER TRANSPORT
42773-424                COLLINS         FILN       l0 cR 963-l                          2l:846 SEC 841-851 ATTEMPT
42864-060                JONES           FOHN       3:18CR299-5                          2l:841 & 846 SEC 841-851
42932-061                SMITH           FMIE       0645 2:1sCR20601               (l)   l8:21l3 ROBBERY BANK
43069-074                GOINS           FTNE       l: lO-CR-l l9-001                    2l:846 SEC 841-851 ATTEMPT
43331-007                BURNS           FDCS       2012           cFl   013093          DC SEX RAPE
43452-014                GORDON          FTNE       3:       l0-CR-00145-l               2l:846 SEC 841-851 ATTEMPT
43574-039                MONTGOMERY      FMIE       09cR20l0l-1                          t 8 :922(G) FIREARMS,CARR C RIM
43609-424                WATSON          FILN       I I CR 3s9-l                         2l:841 & 846 SEC 841-851
43720-424                BAILEY          FMOE       4: I 1CR00246                        I 8: I 962 RACKETEER (RICO)
43913-039                T\'I-ER         FMIE       09cR20502-l                          I 8.225 1.2,2260 OBSCENE MATTR
439s0-424                GRAYSON         FILN       l I cR 682-3                         2l:845 SEC 841-851 ATTEMPT
44019-424                GREGORY         FILN       ll cR745                             18:2113 ROBBERY         BANK
44096-039                BLACKMAN        FMIE       09cw0632-1                           I 8:225  -2,2260 OBSCENE MATTR
                                                                                                   1

44103-06t                LETNER          FOHS       cR 3-0s-068(01)                      I 8:924(C) FIREARMS LAWS
44105-069                ACEVEDO-TAPIA   FRQ        3:14-CR-237-a(CCC)                   46:1903 MARITIME DRTJG
44330-013                LANDLES         FCO        l:17-CR-00353-CMA-l                  t8:225 1 -2,2260 OBSCENE MATTR
443',73-039              SMITH           FMIE       I0cR20388-3                          2l:846 SEC 841-851 ATTEMPT
44479-039                SMITH           FMIE       10cR20058-0                          1 8:922(G) FIREARMS,CARR CRIM
44604-424                JONES           FILN       I       lcR469-l                     I 8: I 344 BANK FRAUD
44620-424                WARD            FILN       12 CR           353-l                COMMUNICATIONS ACT
44643-06t                PIERCE          FOHS       3:07CR183(l )                        21:841    &    846 SEC 841-851
44962-039                INGRAM          FMIE       l0cR2056s-l                          2l:841 SCH I NARCOTIC,NONFSA
45179-074                WINTERS         FTNE       I : I 2-CR- 102-00 I                 2l :841 SCH I NARCOTIC,NONFSA
4s286-086                GILES           FWAW       3: l5CR05443RBL-001                  I 8:225 -2,2260 OBSCENE MATTR
                                                                                                   1

15765-048                PARK            FNV        2:11-CR-00087-GMN-DJ                 l8:2250 FAIL REG AS SEX OFFN
  866-039                SAMPLE          FMIE       I 1cR20386-l                         2l:841 & 846 SEC 841-851
45925-424                MIRELES         FILN       t3 cR744-2                           t 8.924(C) FTREARMS LAWS
45956-074                SHERWOOD        FTNE       l:12-CR-l 43-01           2          2l:846 SEC 841-851 ATTEMPT




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 46036-424                GUZMAN         FILN             I 3CR576-       1                     2l:846 SEC 841-851 ATTEMPT
 46222-0t9                BURSTON        FGAN             l:12-CR-180-l-CAP                     l8:21l3 ROBBERY BANK
 46618-07 4               BARNES          FTNE        3:13-CR-001 l7-01                         I8:924(C) FIREARMS LAWS
 46738-039                SCAFE          FMIE         12cR20135-1                               18:922(G) FIREARMS,GLTN CNTL
 46802-074                VAUGHAN        FTNE         2: l3-CR-93                               2l:846 SEC 841-851 ATTEMPT
 47 147 -039              TUBBS.SMITH    FMIE         0645 2:18CR20310 (1)                      21:841       &    846 SEC 841-851
 47216-424                JUAREZ         FILN         14CR2s0                                  2l:841 SCH I NARCOTIC,NONFSA
 47360-039                HICKS          FMIE         12CR20497-t                              l8:1344 BANK FRAUD
 47396-039                JOHNSON        FMIE         12cR20228-2                              I 8 :922(G) FIREARMS,CARR CRIM
 47475-0'.t4              WHITACRE       FTNE         2:14-CR-0005O-JRG-DH                     1 I :225 I -2,2260 OBSCENE MATTR
 47563-039                GEzuCK         FMIE         12cR20521-t                              1 8:225 I -2,2260 OBSCENE MATTR
 47582-039                ROSARIO        FMIE         t2ck20617-2                              2l:841 SCH I NARCOTIC,NONFSA
 4"/744-039               REED           FMIE         l 3cR20003-             l                I I :225 -2,2260 OB SCENE MATTR
                                                                                                             1

 4'.1848-424              NIEVES         FILN         15       CR   134                        I 8:225 I -2,2260 OBSCENE MATTR
 4'7870-O3g               HARRIS         FMIE         l3cR20l4l-l                              | 8:225 l -2,2260 OBSCENE MATTR
 47889-074                SHOEMAKER      FTNE         3: l4-CR-00 I I 9-00 I                   1 8:225 l -2,2260 OBSCENE MATTR

 47955-424                RODRIGUEZ      FILN         I 5CR500l 6                              I 8:2251 -2,2260 OBSCENE MATTR
 48046-074                DOPLE          FKYE         6: l7-CR-6-GFVT- l                       l8:2250 FAIL REG AS SEX OFFN
 48170-074                LOWERY         FTNE         3: l5-CR-00032-001-TA                    2l:846 SEC 841-851 ATTEMPT
48 I 90-039               HEADINGS       FMIE         l3cR20l75-1                              18:225 | -2,2260 OBSCENE MATTR
48288-074                 MARTINEZ       FTNE      2: I 5-CR-00024-003-RI-                     2l:846 SEC 841-851 ATTEMPT
483 50-03 9               PAMATMAT       FNIE      0645 2:1 lCR2055l (18                       2l:846 SEC 841-851 ATTEMPT
48432-039                 LASSITER       FMIE      13CF.204',76-t                               l8:21l3 ROBBERY BANK
48470-039                 IVES           FMIE         13CR20272-l                               18:2241 -2248        SEXUAL ABUSE
48960-039                 BRADLEY        FMIE         l 3cR20522- l                            33:l3ll DISCHRGPOLLUT
 4915'.7-039              WARE           FMIE         I   3CR20787- l                          2l:841 & 846 SEC 841-851
 49300-424                BRYANT         FILN      3: I 5CR50039- I                             I 8:922(G) FIREARMS,CARR CRIM
 49539-039                GALEENER       FMIE      14cR20032-l                                  t8:924(C) FIREARMS LAWS
498 l5-039                SHINDORF       FMIE      14cR20069- t                                I 8:225 l -2,2260 OBSCENE MATTR
50073-039                 TUCHOLSKI      FM]E      14cR20346-l                                 I 8:225 1 -2,2260 OBS CENE MATTR
s0089-039                 TROTTER        FMIE      0645 2:14CR20273                      (l)   18:286,37 I FRAUD, OTHER
50212-056                 STACY          FNCE     5:06CR0001 3-001                             I 8,,225 1.2,2260 OBSCENE MATTR
s0450-039                 FORD           FKYE     5:14-CR-2O-DCR-l                             2l:841 SCH II NARCOTC,NONFSA
5071 3-039                SMITH          FMIE         I   4CR208 l 4- I                        I 8:225 l -2,2260 OBSCENE MATTR
50979-424                 MCDONALD       FILN      I : l6-CR00078(l )                          I 8 :225 | -2,2260 OBSCENE MATTR
50988-424                 CHAPARRO       FILN      l6 cR 50010-l                               1 8:225 l -2       OBSCENE MATTR
                                                                                                            "2260
5 I 063-039               MCCONICO       FMIE     0645 2:15CR20261                       (l)   2l:841 SCH I NARCOTIC,NONFSA
51   l2l-039              DANIELS        FMIE      l5-20442-3                                  2l:846 SEC 841-851 ATTEMPT
s1228-039                 ABRAM          FMIE     15CR20656-1                                  2l:846 SEC 841-851 ATTEMPT
5l 307-039                ROBINSON       FMIE     l5cR204'72-7                                 l8: 1 962 RACKETEER (zuCO)
51331-039                 WENGLASZ       FMIE     0645 2:17CR20246 (t)                         I 8: I   957 RACKETEERING
51 340-039                KUPPE          FMIE     0645 2:15CW0522(1)                           I 8.225 I -2,2260  OBSCENE MATTR
51461-424                 GARCIA         FILN     1:          l6-CR-0051          l(l)           l8:922(4) FIREARMS FED ACT
51596-424                ANASTOS         FILN     I       r   l6-CR'00646(l)                    I 8: I 925(A) RACKETEERING
5t622-069                VEGA-TORRES     FRQ      3:          l7-CR-00482-l(FAB)                t 8:924(C) FIREARMS LAWS
51767-0',74              FERGUSON        FTNE     2:16-CR-00082-PLR-MC                         2l:846 SEC 841-851 ATTEMPT
517'75-0',74             WILLIAMS        FTNE     2:16-CR-00098-JRG-MC                          I 8: 922(c) FIREARMS,CARR CRIM
51850-424                CRAFF           FOHN     3:          l7-CR-00004-JJH(l)                I 8:225 l -2,2260 OBS CENE MATTR
51866-424                LOMBARDI        FILN     I       7-CR-00025- I                        2l:841 SCH II NARCOTC,NONFSA
51872-074                HARTMAN         FTNE     2: l6-CR-00096-PLR-MC                        2l:846 SEC 841-851 ATTEMPT
51896-424                OSBORNE         FILN     l:17-CR-00073(l)                              18:2421-29 VS TRN IMRL PRPS
520s0-039                SNODY           FMIE     l6-20322-01                                  1 8:225 t -2,2260 OBSCENE MATTR
52162-074                RINER           FTNE     2:17-CR-00019-JRG-MC                          I 8.,225 1.2,2260 OBSCENE MATTR
52243-060                EDWARDS         FOHN     5:15CR00339-018                              21:846 SEC 841-851 ATTEMPT
52309-074                FREDEzuCK       FTNE     3:17-CR-00034-TWP-HB                         I 8:922(G) FIREARMS.CARR CRIM
52444-0'.74              DEAN            FTNE     3: I 7-CR-00063-TAV-HB                       I 8:225 I -2,2260 OBS CENE MATTR
i2460-424                WILLIAMS        FILN     l:17-CR-00446(l)                             I 8:922(G) FIREARMS,CARR CRIM
12463-424                YORK            FILN     l:17-CR-00450(1)                             COMMLTNICATIONS ACT
i2486-074                HOOD            FTNE     3:          l7-CR-00083-TAV-HB               182421-29 I/S TRN IMRL PRPS
52489-074                CARPENTER       FTNE     2:17-CR-00066-RLJ-MC                         2l:846 SEC 841-851 ATTEMPT
52521-074                LAY             FTNE     l: 17-CR-001 05-CLC-SK                       I 8,225 1.2,2260 OBSCENE MATTR
52651-424                RINGO           FILN     I :17-CR-00653(l )                           t 8:922(G) FIREARMS,CARR CRIM
52814-031                FORD            FMD      L- I -l 0-cR-00336-005                       2l:841 & 846 SEC 841-851
52950-039                PINCHOT         FMIE     0645 2:16CR20005 (l )                        182421-29I/S TRN IMRL PRPS
53009-060                SPARROW         FOHN     5:98CR126                                    18:2113 ROBBERY BANK
53023-424                COOPMANS        FILN     l: l8-CR-00220(l )                           I 8:225 -2,2260 OBSCENE MATTR
                                                                                                         1

s3043-060                BROWN           FPAW     cR l5-182-l                                  2t'.841   &       846 SEC 841-851




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lstzot-+zq                       WILSON          FILN      I : I 8-CR-00357(2)          I   8:924(C) FIREARMS LAWS
lsnzx-+zq                        SCHUMACHER      FILN     l: l8-CR-00377(1)             1   8:225 l -2,2260 OBSCENE MATTR
lsvts-qzq                        RHASHI          FWAE     2: I 9-CR-00024-RMP- I        l8:2250 FAIL REG AS SEX OFFN
I s: qoz-oz+                     HICKS           FTNE     2: I 8-CR-001 90-RLJ-DH       2l :841 SCH II NONNARC,NONFSA
I s+oso-ors                      MARTIN          FTNE     I : 1 5-CR-00125-TRM-CH       2l:841 & 846 SEC 841-851
I s+oo:-oz+                      HUGHES          FTNE     2: l9-CR-00033-JRG-CR         2l:846 SEC 841-851 ATTEMPT
I   s+:s+-o:q                    SHAW            FMIE     0645 2:15CR20750(l)           21:841       &   846 SEC 841-851
I   s,l: sz-or s                 MURPHY          FMIE     0645 2:15CR20411 (1)          2l:841 SCH I NARCOICNoNFSA
Is++z r -ors                     BLAZEICZYK      FMIE     06a5 2:16CR20133 (1)          I 8..225 I -2,2260 OBSCENE MATTR
lsq+tq-ots                       JENKINS         FMIE     064s 2:16CR20229 (2)          2l:841 SCH II NARCOTC,NONFSA
ls++so-o:q                       KNIGHT          FMIE     0645 2:15CR20283 (4)          2l:846 SEC 841-851 ATTEMPT
ls+css-o rq                      SCOTT           FMIE     0645 4:16CR20374(l)           t 8 :225 -2,2260 OBS CENE MATTR
                                                                                                 1

ls+oo+-o:q                       GOTT            FMIE     0645 l;16CR20763(l)           I 8:225 I -2,2260 OBSCENE MATTR
l s+zn l-o rq                    COOK            FMIE     0645 4: l6CR207l 0 (l )       18:225 -2,2260 OBSCENE MATTR
                                                                                                 1

ls+srz-orq                       LISKE           FMIE     064s 2:16CPe0514 (l)          18:225 -2,2260 OBSCENE MATTR
                                                                                                 1

I s+s+r-o; s                     SANTMIRE        FMIE      6CR205 I 9
                                                           I                            I 8,225 I -2,2260 OBSCENE MATTR
l s+s r l-o rs                   SMITH           FMIE     0645 2:16CR20293 (2)          2l:846 SEC 841-851 ATTEMPT
I s+s r +-o:
             q                   WEIKEL          FMIE     0645 2:16CR206s9 (l)          I 8 :225 l -2,2260 OBSCENE MATTR
l s+s r q-o rq                   GzuMES          FTNE     3    :   l6-CR-00096-TAV-HB   2l:846 SEC 841-851 ATTEMPT
lss r;o-o:s                      BERRY           FMIE     0645 l:16CR20764(l)           OBSCENE MATTER TRANSPORT
lss r ar-orq                     CELANI          FMIE     064s 2:18CR20058(l)           1 8:225 I -2,2260 OBSCENE MATTR


lss      r   z:-olo              PEAKS           FMIE     0645 2:16CR20460 (1 I         l8:1962 RACKETEER (zuCO)
lsszz:-o:r                       GOODW]N         FMIE     0645 2:17CR20018 (l)          I 8:924(C) FIREARMS LAWS
l55lI8-03I                       HAMMOND         FMIE     064s 2:11CR20076 (l)          I 8:225 1 -2,2260 OBSCENE MATTR
    ss:: s-o:     q              BANDROW         FMIE     0645 2:17CR20077 (l)
I                                                                                       I 8:225 1 -2,2260 OBS CENE MATTR
|   5s 530-03 9                  MILLERWISE      FMIE     0645 2: I 8CR20194 (l )       I 8 :225 l -2,2260 OBSCENE MATTR
I   sssso-o:s                    YATZEK          FMIE     0645 2:17CR20303 (l)          18',225 I -2,2260 OBSCENE MATTR
I   sss zo-or s                  JACKSON         FMIE     0645 2: I 5CR20507 (1)         2l:846 SEC 841-851 ATTEMPT
I   ss   ss:-o: s                BRIDGES         FMIE     064s 4:17CR20298 (2)           18:924(C) FIREARMS LAWS
I


lss663-03e                       HAWKEY          FMIE     0645 l:17CR20415 (l)           I 8:2251 -2,2260 OBSCENE MATTR
    55728-03 9                   SAKON           FMIE     0645 l:17CR20445-01            I 8:225 l -2,2260 OBS CENE MATTR
    5574 1 -039                  BENNETT         FMIE     0645 l:17CR20443(l)           ASSAULT
     55'1r',t-060                SMITH           FOHN     4:lOCRl37- I                   l8:922(G) FIREARMS,3 PRI CNV
    558s l -03 9                 HAYWARD         FMIE     0645 4:17CR20515(1)            I 8 :225 -2,2260 OBSCENE MATTR
                                                                                                 1

    5588 I -039                  JONES           FMIE     0645 2:17CR20608 (l)           1 8 :225 l -2,2260 OBSCENE MATTR

    5s920-0s4                    ST CLAIRE       FKYE     2:19-CR-41-DLB-01             2l:846 SEC 841-851 ATTEMPT
    56006-060                    KNIGHT          FNYW     l:10CR00179-001               OTHERANCLASSIFIABLE
    56 I 04-039                  MOORE           FMIE     0645 4:18CR20001 (l)           I 8:225 -2,2260 OBSCENE MATTR
                                                                                                 1

    56 I 70-039                  SMITH           FMIE     064s 4:t7CR20179 (l)           I 8',225 1.2,2260 OBSCENE MATTR
    56t72-039                    TROUT           FMIE     0645 l:17CR20854(l)            | 8:225 I -2,2260 OBSCENE MATTR
    56205-060                    BURTIS          FOHN     r0cR325                        I 8:225 | -2,2260 OBS CENE MATTR
    56237-018                    TAYLOR          FFLM     8:l2-CR-76-T-35TBM             I 8 :225 I -2,2260 OBS CENE MATTR
    5627s-060                    DIMORA          FOHN     l:10CR00387-001                I 8:1962 RACKETEER (RICO)
    563 I 0-039                  DECKER         FMIE      0645 2:18CR20061       (l)     1 I :225 l -2,2260 OBSCENE MATTR

    56321-037                    TALLEY         FMIE      I3CR20l 56- l2                21:846 SEC 841-851 ATTEMPT
    56329-039                    JOHNSON        FMIE      0645 2:18CR20073       (l)     I 8:924(C) FIREARMS LAWS
    56407-039                    BRANT          FMIE      0645 2: I 8CR20155     (l)    I 8:924(C) FIREARMS LAWS
    56451-03',7                  DELGADO        FVAE      l:19CR00229-001               21:846 SEC 841-851 ATTEMPT
    s6576-039                    MEDINA         FMIE      0645 l:18CR20280(l)           1 8:225 l -2,2260 OBSCENE MATTR

    566t7-039                    HRAMIEC        FMIE      0645 l :1 8CR20360 (l )       18:225 I -2,2260 OBSCENE MATTR
    56626-039                    WOODBURN       FMIE      0645 2:18CR20554 (l)          I 8 :225 l -2,2260 OBS CENE MATTR
5664 l -03 9                     CLEMMONS       FMIE      0645 2: I 8CR20323(3)         2l:846 SEC 841-8sl ATTEMPT
56696-039                        MCCORMICK      FMIE      0645 4..18CR20429(1)          | 8:225 l -2,2260 OBSCENE MATTR
56856-060                        FRANKLIN       FOHN      l:l lCR9l-12                  2l:846 SEC 841-851 ATTEMPT
57029-039                        MCKINLEY       FMIE      0645 l:18CR20719(9)           2l :846 SEC 841-851 ATTEMPT
5703 I -056                      RILEY          FNCE      7:   l2-CR-140-lBO            COMMLTNICATIONS ACT
    57043-039                    RICHARDS       FMIE      064s 2:1820802 (4)            21:846 SEC 841-851 ATTEMPT
s7 t'r3-060                      WALBORN        FOHN      5:11CR00231-001               I 8:225 l -2,2260 OBSCENE MATTR
57210-039                        BRAVARD        FMIE      064s 2:19CR200s8(l)           | 8 :225 l -2,2260 OBSCENE MATTR
57211-019                        COUSTIN        FGAN      l:05-CR-401-l-CAP             18:2421-29 VS TRN         IMRL     PRPS
57558-060                        NOVEL          FOHN      l: I 1CR569                   l8:2250 FAIL REG AS SEX OFFN
57883-060                        BUTCHER        FOHN      5:12CR24-01                   21.84t & 846 SEC 841-851
58369-060                        COOPER         FOHN      l:12CR444-01                  I 8:225 I -2,2260 OBSCENE MATTR
58672-060                        COLE           FOHN      5:l3CR13                      I 8:225 1 -2,226A OBSCENE MATTR
58766-060                        COOK           FOHN      3:13CR105                     I 8:2251 -2,2260 OBSCENE MATTR
58773-060                        AL MALIKI      FOHN      l:13CR121                     18:2241 -2248 SEXUAL ABUSE
s8859-060                        HOOKS          FOHN      4:13CR192                     2l:841 & 846 SEC 841-851




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s8907-060                   PALM           FOFIN      3: I 3CR266                             I 8,225 1.2,2260 OBS  CENE MATTR
58944-060                   CARTER         FOHN       l: l3CR236                              I 8 :922(G)   FIREARMS,CARR CRIM
58944-1',77                 MARTINEZ       FTx]{      l: l9-CR-00057-P-BU(0                   2l:841 SCH II NONNARC,NONFSA
s9348-060                   SCHUMACHER     FOHN       4: I 3CR384-001                         I I :225 | -2,2260 OBSCENE MATTR
5941     l-060              BOWMAN         FOFIN      5:1       3-CR-426                      | 8:2251 -2,2260 OBSCENE MATTR
5942 l -060                 WEISS          FOHN       1:       l3CR392-001                    I 8:225 | -2,2260 OBSCENE MATTR
59469-060                   SAVAGE         FOHN       I : I 3CR345-55                         2l:841 & 846 SEC 841-851
s995 1 -3 80                LARA           FTXW       5:       l5-CR-00636-FB(2)              2l:841 SCH II NONNARC,NONFSA
60073-060                   STEFFEE        FOHN       5:       l4CR18-001                     18:225 l -2,2260 OBSCENE MATTR
60252-060                   DURBIN         FOHN       5:14CR168                               I 8 :225 l -2,2260 OBSCENE MATTR
60210-060                   HODGES         FOHN       l :14CR00214-0          1   2           2l:846 SEC 841-851 ATTEMPT
60293-060                   SINGLETON      FOHN       l: l4CR002l4-008                        2l:846 SEC 841-851 ATTEMPT
603t2-066                   BIANCHI        FPAE       06-cR-19-1                              OTHERiTINCLASSIFIABLE
6047 t-060                  SHERWOOD       FOHN       l: l4CR391-001                          I 8 :225 I -2,2260 OBSCENE MATTR
60499-060                   GATTARELLO     FOHN       1:       l4-CR00353-DCN(l)              COMMTINICATIONS ACT
60552-060                   MICHAELIS      FOHN       3: l4CR400                              18:2251 -2,2260 OBSCENE MATTR
6070 1 -060                 KUSHEN         FOHN       I : I 5CR65-01                          I 8:225 -2,2260 OBSCENE MATTR
                                                                                                          1


60835-060                   GRI]LY         FOFIN      l:l5CRl5l                               l8:21l3 ROBBERY BANK
60895-060                   VOGUS          FOHN       5:15CR173-01                            I 8:225   -2,2260 OBS CENE MATTR
                                                                                                          1


61113-060                   JACKSON        FOHN       l:15CR263-001                           1   8..286,37I FRAUD, OTHER
616r6-09't                  HUNT           FCAE       l:10CR00074-001                         | 8:225 I -2      OBS CENE MATTR
                                                                                                               "2260
62628-097                   MORA           FINS       3:05CR00042-00 I                        2l:846 SEC 841-851 ATTEMPT
62781-079                   QUINTANILLA    FINN       I    :   l4CRl2-001                     2l:841 SCH II NARCOTC,NONFSA
62802-060                   REMBERT        FOHN       I : I 5CR453-005                        18:21 19 ROBBERY OF AUTO
6293',7-061                 NALLIE         FOHS       2:       l9-CR-007-l                    2l:841 SCH II NARCOTC,NONFSA
631 l5-1    l2              HEDDERICH      FCAC       cR l2-574-JFW                           OBSCENE MATTER TRANSPORT
63263-3 80                  MARTINEZ       FTXW       AU:16-CR-00001(t!SS                     2l:841 SCH II NONNARC,NONFSA
63270-037                   BASIT          FMD        DKC-1- l7-CR-001 73-00                  I 8:924(C) FIREARMS LAWS
633 s5-060                  MARTINEZ       FOHN       4:16-CR-00048-          1               2l:846 SEC 841-851 ATTEMPT
63607-056                   LEWIS          FNCE       '1:17-CR-57-2-D                         2l:846 SEC 841-851 ATTEMPT
638 l9-066                  MARKLEY        FPAE       DPAE2:09-00500-1                        1 8:225 l -2,2260 OBSCENE MATTR

6393'7-037                  OLDALE         FMD        PX-8-t 8-CR-00545-00 I                  I 8:225 l -2,2260 OBSCENE MATTR
63955-060                   KASLINIC       FOHN       l: I 6-CR-00066-01                      | 8:225 | -2,2260 OBS CENE MATTR
63964-060                   MACK           FOHN       5:16-CR-001 l2(DAP)5                    2l:846 SEC 841-851 ATTEMPT
640t5-037                   HILL           FMD        ccB- l- l 8-cR-00278-01                 2l:841 & 846 SEC 841-851
64028-03'.7                 DILLON         FMD        DKC-1- l 8-CR-00308-00                  I 8:225 l -2,2260 OBSCENE MATTR
64059-060                   PURNELL        FOHN       l:16-CR-00162-JRA(l)                    18:225 l -2,2260 OBSCENE MATTR
64255-06t                   LATHAM         FOHS       cR-2-97-30-2                            2l:841 & 846 SEC 841-851
64322-060                   HTJNT          FOHN       3: l5-CR-00286-JJH(l)                   I 8:225 I -2.2260 OBS CENE MATTR
64364-060                   FORD           FOHN       5: I6-CR-00326-JRA(2)                   2l:841 SCH I NARCOTIC"NONFSA
6440 l -060                 HICKS          FOHN       l: l6-CR-00354-JG(1 )                   I 8:225 -2,2260 OBSCENE MATTR
                                                                                                          1


64402-060                   wILLIAMS       FOHN       5: l6-CR-00386-CAB( l)                  2l:841 & 846 SEC 841-851
64425-060                   WROTEN         FOHN       l:17-CR-00007-CAB(l)                    1 8:225 l -2,2260 OBSCENE MATTR

64s66-060                   CLEVELAND      FOHN       l: l7-CR-00029                          2l:841 SCH I NARCOTIC,NONFSA
64s80-060                   BELDEN         FOHN       5: l7-CR-00082-DCN(l            )       I I :225 I -2,2260 OBS CENE MATTR
64604-060                   SUTTER         FOHN       3:1  7-CR-00046-JJH(l )                 1 8:225 I -2,2260 OBSCENE MATTR

646t2-066                   GOMEZ          FPAE       DPAE2: I 0CR00032 l -00             I   2l:846 SEC 841-851 ATTEMPT
64637-060                   LOVE           FOHN       I :1 7-CR-00068-6                       21 .841     & 846 SEC 841-85   1


64646-019                   CANNONII       FGAN       2:13-CR-09-WCO                          I 8:225 l       -2,2260 OBSCENE MATTR
64'.7   t2-037              FRAZIER        FMD        RDB-l-19-CR-00209-00                    2l:841 & 846 SEC 841-851
64'738-060                  FOX            FOHN       3:l7CRl56                               I I :2251 -2,2260 OBS CENE MATTR


648 I 6-06s                 WILLSEY        FOR        cR    00-438-01 FR                              3(D) ROBBRY,ASSLT,BANK
                                                                                              I 8:2 I I
64823-060                   NELSON.        FOHN       l: l7-CR-00256-SO(1)                    2l :841 SCH II NARCOTC,NONFSA
64843-060                   NUNEZ          FOHN       l:17-CR-00281                           1 8:225 l -2.2260 OBSCENE MATTR

65151-060                   SASSO          FOHN       l: l7-CR-0048O-CAB(l)                   1 8:225 l -2,2260 OBSCENE MATTR

65254-061                   KIMBALL        FOHS       2:       l5'CR-l   84                   1 8:225 l -2,2260 OBSCENE MATTR

65348-056                   SHAW           FNCE       5:1 8-CR-4 I 2- I FL                    2l:841 SCH II NONNARC,NONFSA
65458-060                   AWOYADE        FOHN       I : I 7-CR-00542-JFR(2)                 l8:1344 BANK FRAUD
65484-054                   BORGOS         FTx]{      3:14-CR-00486-N( I )                    I 8:225 I -2,2260 OBSCENE MATTR
65524-060                   NESBY          FOHN       5: l8-CR-00083-SO(I)                    2l:841 SCH II NON-NARCOTIC
65121-060                   GARCIA         FFLM       2:18-CR-94-FTM-38MRM                    l8:545 CUSTOMS LAWS SMUGGLNC
6572s-060                   WRIGHT         FOHN       l:18-CR-00331-25                        2l:841 & 846 SEC 841-851
65726-060                   DAVIS          FOHN       I:I8-CR-0033l-I                         2l:841 & 846 SEC 841-85 I
6s745-060                   FLUKER         FOHN       l:18-CR-00331-14                        2l:846 SEC 841-851 ATTEMPT
65752-060                   MCCARTY        FOHN       1:18-CR-00322-DAP(l)                    1 8:922(G) FIREARMS,CARR     CRIM
65763-050                   WARNER         FNJ        l:13-CR-00782-01                        I 8:922(G) FIREARMS,CARR CRIM
65930-060                   BUTLER         FOHN       3:18-CR-00438-JJH(l)                    1 I :225 l -2,2260 OBSCENE MATTR




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    65983-060                   BELL          FOHN     5: l8-CR-00497-DCN(8)          2l:846 SEC 841-851 ATTEMPT
    660 I 9-060                 MACLIN        FOI{N    l:18-CR-00561-CAB( l)          1 8      1.2,2260 OBSCENE MATTR
    66043-060                   MCMEANS       FOHN     4: I 8CR582-00 I                   "225
                                                                                      l8:922(G)     FIREARMS,3 PRI CNV
    66050-060                   GREATHOUSE    FOHN     5:1      8-CR-00660-CAB( 1 )   I I :225 I -2,2260 OBSCENE MATTR
    66070-060                   MEADOWS       FOHN     4:1 8CR594-00 I                1 8r924(C) FIREARMS LAWS

    66122-060                   BLACK         FOHN     5:1      8-CR-00546-SL( l )    I 8 :922(G) FIREARMS,CARR CRIM
    66 I 30-060                 DAVIS         FOHN     3: I 8CR734                    I 8:225 -2,2260 OBSCENE MATTR
                                                                                             1


    66 I s9-060                 MCELHATTEN    FOHN     l:18-CR-00661                  | 8:225 -2,2260 OBSCENE MATTR
                                                                                             1


    66r91-060                   EVANS         FOHN     4: l8-CR-00717-JG(l)           COMMUNICATIONS ACT
    66213-050                   HARzuS        FOHN     5: I 8-CR-00745-SL(l)          | 8:922(G) FIREARMS,CARR CRIM
    66246-060                   TSOLAKIS      FOHN     1: l8-CR-010748-JRA(2          I 8:924(C) FIREARMS LAWS
    663 I 5-060                 FULLER        FOHN     3:19 CR266                     21:846 SEC 841-851 ATTEMPT
    66527-060                   ROSYNEK       FOHN     4:19-CR-001 93-JG(l)           I 8:225 I -2,2260 OBSCENE MATTR
    55s5 I -050                 GONZALEZ      FOHN     4: l9-CR-00188-CAB(1)          I 8:225 -2,2260 OBSCENE MATTR
                                                                                             1


    67296-018                   PHELPS        FFLM     8:16-CR-291-T-17TGW            2l:846 SEC 841-851 ATTEMPT
    67377-308                   DENT          FMIE     l0cR201 l2-1                   2l:846 SEC 841-851 ATTEMPT
    67498-061                   BROOKS        FMT      CR.O8-O2.BLG-RFC-OI            OBSCENE MATTER TRANSPORT
    67794-066                   RAMOS         FPAE     DPAE5:l lCR0005l2-001          I 8:924(C) FIREARMS LAWS
    68121-280                   HARLESS       FTXS     4:10CR00258-003                COMMUNICATIONS ACT
    682s6-06 l                  UBERSTTNE     FOHS     2:1O-CR-1       l5             SEX ILLEGAL COHABIT
    68288-06 l                  GOODMAN       FOHS     cR2-10-157                     18:225 l -2,2260 OBSCENE MATTR
    58880-065                   WEWA          FOR      cR-05-314-HA                   18:l I l2-3 HOMICIDE MANSLGHTR
I
    69007-06l                   KLEIN         FOHS     2:10-CR-333 OHSD               18:2251 -2,2260 OBSCENE MATTR
    69093-06     r              CONNER        FOHS     cR2-10-332                     I 8:225 -2,2260 OBSCENE MATTR
                                                                                             1


    697 47 -0s   I              VANDERMEER    FNM      l   :1   2CR03277-00 lJH       I 8:225 -2,2260 OBSCENE MATTR
                                                                                             1


    69837-06 I                  MILLER        FOHS     I   :l l-CR-109                OBSCENE MATTER TRANSPORT
    699t3-061                   LUCKEY        FOHS     l:11CRI36-1                    2l:846 SEC 841-851 ATTEMPT
    69926-061                   ROSS          FOHS     1:l lCRl39                     I 8,.225 1.2,2260 OBSCENE MATTR
    6997l-0I8                   LIPINSKI      FFLM     3:18-CR-33(Sl)-J-34M           I 8.,225 I -2,2260 OB SCENE MATTR
    '7(t02g-061                 HANNA         FOHS     2:12-CR-59                     1 8 :225 I -2,2260 OB SCENE MATTR

    70039-06     1              PATTERSON     FOHS     2:12-CR-44                     18:225 I -2,2260 OBSCENE MATTR
    70047-06t                   CRAIL         FOHS     CR-2-l l-l3l&2:12CRl9          2l:841(E) DRUGS
    701 t9-067                  BOOP          FPAM     4:CR-l l-150-01                OBSCENE MATTER TRANSPORT
    70219-061                   SULLIVAN      FOHS     2: l5-CR-098                   18:225 t -2,2260 OBSCENE MATTR
    70255-056                   OLISLAGER     FNCE     5:07-CR-30-lF                  I 8:225 I -2,2260 OBSCENE MATTR
    704t6-054                   NEAL          FNYS     I :(S I )08CR.00086(MGC        21:846 SEC 841-851 ATTEMPT
    70452-056                   EVANS         FPAE     DPAE5: 1 3CR000333-001         18225 l -2,2260 OBSCENE MATTR
    70982-067                   HORTON        FPAM     l: I 3-CR-0016                 2l:841 & 846 SEC 841-851
    71 025-050                  CIRINO        FPAE     DPAE5: 1 7CR00355-00 I         18:286,37 I FRAUD, OTHER
    7   I 179-0t8               SCIOLINO      FFLM     8:1 8-CR-449-T-27JSS           1 8:225 | -2,2260 OBSCENE MATTR

    7   1496-061                RAGER         FOHS     2:13-CR-199-l                  1 8:2251 -2,2260 OBSCENE MATTR

    7l   8-380
         9 I                    GARZA         FTXW     5: l6-CR-00271-OLG(l )         2l:841 SCH II NONNARC,NONFSA
    7 1948-066                  HAYNES        FPAE     DPAE2: 1 5CR001 00-00 1        | 8:225 -2,2260 OBSCENE MATTR
                                                                                             1


    72233-066                   CAPASSO       FNJ      I : l6-CR-003 I 8-JBS- I       I 8"225 1.2,2260 OBSCENE MATTR
    ?r?{)_nt     q
                                ROUTH         FVAE     l:l9CRl42-001                  18:225 l -2,2260 OBSCENE MATTR
    72292-061                   DRUGGAN       FOHS     2: l4-CR-066-l                 I I :225 l -2,2260 OBSCENE MATTR
    72168-061                   BRETLAND      FOHS     3: l5-CR-006                   1 8:225 I -2,2260 OBSCENE MATTR

    72967-061                   WHITFIELD     FOHS     l: l5-CR-42                    l8: 1956 RACKETEERING
    73 083-06 I                 SPICER        FOHS     l: l5CR73                      1 8:225 l -2,2260 OBSCENE MATTR

    74677-065                   LEWIS         FOR      3: l2-CR-00545-HZ              18:2421-291lS TRN IMRL PRPS
    1s001-067                   BROWN         FPAM     4: I 6-CR-000 I 9-0    I       2l:841 & 846 SEC 841-851
    7   5026-0'79               HARzuS        FTXS     4:96CR00230-001                I 8:924(C) FIREARMS LAWS
    7s05r-097                   CHIVOSKI      FOR      3:   l5-CR-00450-l-HZ          18:2421-29 l/S TRN IMRL PRPS
    75109-067                   HORTON        FPAM     1:16-CR-00051-02               2l:846 SEC 841-851 ATTEMPT
    7583 3-066                  HUGHSTED      FPAE     DPAE2: 17CR00005 l-001         OBSCENE MATTER TRANSPORT
    75891 -06 I                 HARRAH        FOHS     2:16-CR-143                    18',225 -2,2260 OBSCENE MATTR
                                                                                             1

    7 5931 -06'7                LEWIS         FPAM     4:17-CR-000242                 18225 l -2,2260 OBSCENE MATTR
    76162-061                   WILLIAMS      FOHS     2: l6-CR-169-2                 2l:846 SEC 841-851 ATTEMPT
    76r81-061                   DEERING       FOHS     2: l6-CR-159                   I 8: 922(G) FIREARMS,CARR CRIM
    '76193-061                  WEIDNER       FOHS     cR2-16-152                     t 8:225 I -2,2260 OBSCENE MATTR
    76261-067                   MAGANA        FNCW     DNCW3 18CR000082-0 I I         2l:841 SCH II NONNARC,NONFSA
    76284-061                   NORRIS        FOHS     I : I 6CR93                    I 8..225 I -2,2260 OBSCENE MATTR
    76337-06t                   MURRAY        FOHS     3 t7CR22                       I 8:225 l -2,2260 OBSCENE MATTR
    76343-053                   BLAIR         FNYE     cR 10-696 (JS)                 18:1962 RACKETEER (RICO)
    '76s94-061                  PENA          FINN     2: I 5CR72-030                 I 8: I 962 RACKETEER (RICO)
    't6'763-066                 BABBITT       FPAE     DPAE2: I 8-CR-000384-0         I 8 :225 I -2,2260 OB SCENE MATTR
    76800-061                   THOMAS        FOHS     2: l7-CR-165                   18..225 I -2,2260   OBSCENE MATTR




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                     Case: 4:20-cv-00794-JG Doc#: 35-1   Filed                    04130120 13 of 1-3. PagelD #: 535


                                LEE           FOHS       2.17CR192                              | 8:225 l -2,2260   OBSCENEMATTR
     85 1 -06                   SPARKS        FOHS       3:l7CRl55                              I 8:225 l -2,2260   OBSCENEMATTR
      I   5-06                  DOUTT         FOHS       2:17-CR-249-l                          I 8:225 I -2,2260   OBSCENEMATTR
                                ROGERS        FOHS       2-17-CR-282                            1 8:225 I -2,2260   OBSCENEMATTR
                                RICHARDSON    FWVS       2: l7-CR-00148-01                      2l:846 SEC 841-851 ATTEMPT
                                BATEMAN       FOHS       3: l7-CR- I 56                         I 8 :225 l -2,2260 OBSCENE MATTR
          7-06                  cox           FOHS       cF'2-17-2ll                            I 8:922(G) FIREARMS,CARR CRIM
                                SZUCS         FNYS       t7 cR 00373 (KMK)                      I 8.225 -2,2260 OBSCENE MATTR
                                                                                                         1


                                PERKINS       FOHS       2:18-CR-27(4)                          I 8:225 l -2,2260 OBSCENE MATTR
                                MAKOWSKI      FOHS       2: I S-CR-1 72                         I 8:225 l -2,2260 OBSCENE MATTR
                                SCHABER       FOHS       2:19-CR-103                            l8:i591 SEX TRAFFICK CHILD
                                JACKSON       FOHS       3:19-CR-40                             I 8:922(G) FIREARMS,CARR CRIM
          8-06   l              DAVIS         FOHS       3:19CR32                               I 8:924(C) FIREARMS LAWS
                                GOODMAN       FNYS       7:16-CR-478-10(CS)                     21:841 & 846 SEC 841-851
781 89-061                      SEXTON        FOHS       2:19-CR-192                            18:1028 FRAUD IDENTITY THEFT
                                WATSON        FOHS       2: l9CR69                              18:1344 BANK FRAUD
783 86-053                      HARRIS        FNYE       cR-10-00712(s-2) (rL                   18   :225 I -2,2264 OBSCENE  MATTR
                                MYERS         FPAW       I9-00028-00 l                          I8       I-2,2260   OB SCENE MATTR
                                                                                                   "225
787 l7-083                      HUMPHRIES     FVAE       2: I 1CR00089-001                      1 8:225 I -2,2260  OBSCENE MATTR
79 1 68-083                     DOYLE         FVAE       2:12CR00039-001                        1 8.225 t -2,2260  oBSCENE MATTR
79648-0s4                       RITER         FNYS       l:18 CR003l3-001 (J                    I 8:225 l -2,2260  OBSCENE MATTR
796s6-0s4                       WILSON        FNYS       01:17-CR-00243 (SHS)                   COMMUNICATIONS ACT
8340 I -408                     CHUTE         FAZ        cR-17-01944-001-TUC-                   OBSCENE MATTER TRANSPORT
84890-308                       FRIES         FAZ        cR 13-00146-001-TUC-                   | 8:225 I -2,2260 OBSCENE MATTR
84999-054                       LIEDKE        FNYS       08 cR 6s3(SCR)                         OBSCENE MATTER TRANSPORT
8s347-079                       DEAN          FMIE       I    lcR20l95-l                        2l:841 SCH I NON-NARC,NONFSA
85s38-083                       SPRATLEY      FVAE       2: l5CR0007l-001                       l8:924(C) FIREARMS LAWS
86 1 07-053                     CLARKE        FNYE       cR-15-0426-01(RSIXA                    I 8 :225 l -2,2260 OB S CENE MATTR
90282-054                       SANCHEZ       FNYS       s2 08 cR.00789 (RJS)                   2l:846 SEC 841-851 ATTEMPT
91 I 98-054                     BUSER         FNYS       sl l8-cR-l l2(wHP)                     I 8:225 I -2,2260 OBSCENE MATTR
91  248-083                     JOE           FVAE       4:17CR00065-005                        2l:846 SEC 841-851 ATTEMPT
9 I 453-05 I                    NAVARRETE     FNM        l:18CR00553-00lJCH                     I I :225 -2,2260 OB SCENE MATTR
                                                                                                         1


91581-083                       PATTERSON     FVAE       2: I 7CR00l 4l -00 I                   t 8:225 -2,2260 OBSCENE MATTR
                                                                                                         1


93348-0'71                      FULLER        FSC        7:98CR76-1                             21 .841 &. 846 SEC 841-85   1


93428-083                       MILTIER       FVAE       2:19CR00078-001                        18:225   1-2,2260 OBSCENE MATTR
94422-004                       KOHLER        FFLS       2"   1   O.   1   4O"I   T.CR.MARTIN   | 8:225 | -2,2260 OBS CENE MATTR
96348-020                       FRANKLIN      FPAE       DPAE2: I 3CR00001 76-00                I 8:286.37 | FRAUD. OTHER
99585-020                       SEAY          FSC        3:15-801(001 JFA)                      2l:846 SEC 841-851 ATTEMPT
9999t-022                       MENDEZ        FTxI{      6: l2-CR-028-01-C                      OBSCENE MATTER TRANSPORT




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